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UNITED STATES BANKRUPTCY COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

GREENSBORO DIVISION
lN RE: )
)
WAYNE L. STUTTS and ) CASE NO. ll-l 1728
JOYCE A. STUTTS, )
)
Debtors. )

SECOND MODIFIED PLAN OF REORGANIZATION DATED AUGUST 31. 2012
TO: Hon. Williarn Stoclcs United States Banlcruptcy Judge

Your Applicant, Wayne L. Stutts and Joyce A. Stutts, Debtors-in~Possession, respectfully
proposes the following Second Modified Plan of Reorganization dated August 31, 2012,
modifying the previous Plan of Reorganization dated l\/lay 31, 2012 and the Modiiied Plan of
Reorganization Dated August 15, 2012.

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Wayne L. Stutts and Joyce A. Stutts (hereinafter the “Stutts” or “Debtors” or “Debtors~
in-Possession'”) have been acquiring real property for nearly 30 years Mr. Stutts maintains
licenses as a Real Estate Developer and as a Certifled Surveyor. Over the previous 30 years,
when as a surveyor Mr. Stutts would gain knowledge of available vacant real estate, the Debtors
purchased certain parcels for developmentl Some of the developed properties Were sold while
others were maintained as rental units. As the rental business grew, the Debtors Would acquire
vacant real estate at discounted prices for future development The Debtors also began
purchasing preexisting rental units. Approximately two years ago the Debtors owned roughly 70
rental units, as Well as 30 vacant unencumbered lots. Mrs. Stutts began having some medical
issues and as a result the Debtors Were unable to spend the time necessary to manage and
maintain the properties, leading to an increased vacancy rate. Mrs. Stutts has subsequently made
a full recovery. When the Debtors’ vacancy rate increased, they no longer were able to afford
payments on those properties that had secured debt obligations Several foreclosure proceedings
Were initiated, and the Debtors lost approximately 20 rental units in various foreclosure
proceedings When the number of foreclosure proceedings increased, the Debtors sought relief
under Chapter 11 of the Banlcruptcy Code.

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This Second Modified Plan of Reorganization (the “Plan” or the “l\/loditied Plan”) under
Chapter ll of the Banl<ruptcy Code (the “Code”) proposes to pay creditors of Wayne L. Stutts
and Joyce A. Stutts (the “Debtcrs” cr “Stutts”) from cash tlovv, derived from future operations
and the liquidation of certain properties lt is anticipated that cash flow from current and future
operations Will be insufficient to satisfy monthly installments of arrearages on secured claims, or
bi-yearly payments on general unsecured claims, as outlined below. As a result the Debtors
propose to make said payments from the liquidation of unencumbered assets of the Estate, as
Well as the liquidation of unencumbered assets of the Debtors’ business Wayne L. Stutts
Builders, Inc. The Plan provides for eleven (l l) classes of priority claims; seven (7) classes of
secured claims; and two (2) classes of unsecured claims Unsecured creditors holding allowed
claims Will receive distributions Which the proponent of this Plan has valued at approximately
twenty five (25) cents on the dollar. This Plan also provides for the payment of administrative
and priority claims

All creditors and equity security holders should refer to Articles l through XIX of this
Plan for information regarding the precise treatment of their claim. A disclosure statement that
provides more detailed information regarding this Plan and the rights of creditors and equity
security holders has been circulated with this Plan. Your rights may be affected. You should
read these papers carefully and discuss them With your attorney, if you have one. (If you do
not have an attorney, you may Wish to consult one.)

CHAPT]§R 11 OPERATIONS

During the Chapter ll proceedingsj the Debtors concentrated on reducing the number of
non-performing rental units, cutting expenses providing better recording periods, and decreasing
their vacancy rate. The Debtors, With Court permi'ssion, have entered into two (2) short sale
agreements abandoned three (3) non~performing rental units, and decreased their vacancy rate
significantly, leaving the Debtors With forty nine (49) rental units and thirty (3 0) vacant lots
Currently the Debtors’ vacancy rate is eight percent (8%). As such the Debtors have reduced
their overhead and concentrated on improving the rental income received from real estate.
Additionally, the Debtors have taken steps to institute financial controls

While rental prices have not increased significantly due to the general state of the
economy, the budget proposed by the Debtors and the reduction of their non~performing assets
have been successful, such that based on the financial improvements shown by the Debtors, and
the expected future improvements the Debtors are in a position to set forth the proposed Second
Modified Plan of Reorganization dated August 31, 2012, modifying the previous Pian of
Reorganization dated May 31, 2012 and the Modified Plan of Reorganization Dated August l5,
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TERMS AND DEF]NITIONS

F or purposes of this Disclosure Statement and accompanying Plan, the following
definitions shall apply and, unless otherwise indicated, the singular shall include the plural:

Allowed Claim: Any Claim against the Debtors for which a Proof of Claim was filed on
or before the date designated for such filing by the United States Bankruptcy Court as of the last
day on Which to file Claims in this proceeding, or which is listed in the Schedules filed by the
Debtors (unless listed as unliquidated, disputed, or contingent)` and, in either case, to which no
objection has been filed within the applicable period of limitation fixed by the United States
Code, the Rules of Bankruptcy Procedure, or Order of this Court, unless the objection has been
determined by Final Order -or ludgment of the Court, or any applicable court, allowing such
Claim. This definition shall include allowed secured claims and, to the extent authorized under
the Code and approved by the Court, an allowed secured claim shall include ll U.S.C. § 506(b)
expenses

Bankruptcy Code: Provisions of Title ll, United States Code, as amended by the
Banl§ruptcy Reform Act of 1978, and as may be hereinafter amended from time to time.

Cash: Cash, cash equivalent, or other available market securities or instruments

Collateral: Property of the Debtors which have been pledged to a creditor to secure an
indebtedness

Claim: A duly scheduled Allowed Claim or timely allowed filed Proof of Claim, or any
Debtor obligation which would be an allowed administrative expense claim under ll U.S.C.§
503 or ll U.S.C. § 507.

Conf`lrmation of the Plan: The entry by this Court of an Order confirming the Plan in
accordance with Title ll, Chapter ll, of the United States Bankruptcy Code.

Consummation of the Plan: The consummation of all things contained in or provided
for in this Plan, and the entry of an Order of Consummation of Final Decree finally dismissing
this Reorganization case.

Court: The United States Banl<ruptcy Court for the Middle District of North Carolina,
Greensboro Division.

Debtor: The Debtors in this proceeding are Wayne L. and Joyce A. Stutts.

Effective Date of the Plan: Sixty (60) days after entry of an Order confirming this
Chapter ll Plan.

Estate: The property belonging to the Debtors on the date this case was commenced and
as defined by §§ 541 and lll§ of the Bankruptcy Code and other applicable law.

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Lly A mortgage, judgment lien, materialmen's lien, statutory lien, security interest,
charging order, or other charge or encumbrance on the D'ebtors’ property, effective under
applicable laws as of the date of Debtors’ petition for reorganization or thereafter as authorized
by Order of the Bankruptcy Court.

Notice and I-Iearing: Notice and l-learing as defined by § 102(1) of the United States
Bankniptcy Code.

Plan: This Plan of Reorganization dated May 31, 2012, as modified on August 15, 2012,
and as modified on August 31, 2012 and any modification thereof as approved by the Court.

Pro Rata: The proportion that each Allowed Claim in a particular class of creditors
bears to the aggregate of all Allowed Claims in that class on that date.

Reorganizcd Debtor: Wayne L. and Joyce A. Stutts, after entry of an Order confirming
this Chapter 11 Plan and as revested with properties that were formerly property of the Estate as
provided in § l 14l(b) of the United States Banlcruptcy Code.

Secured Claim: An Allowed Claim under ll U.S.C. § 506(a) by identified Collateral,
properly perfected, and not avoidable under applicable law.

Substantial Consummation: The date at which the Debtors have commenced the
distribution of initial Plan payments, has issued promissory Notes as required under the Plan,
completed all procedures necessary to obtain Banl<ruptcy Court approval of any disposition of
the Debtors’ Estate as described herein and closed on the sale of any of the Debtors’ real and
personal property.

Unsecured Trade Claim: An allowed trade claim that arose or accrued prior to
November 11, 2011 that is unsecured and is not entitled to priority under § 507 of the United
States Banl<ruptcy Code.

Unsecured Creditor: A creditor with an Allowed Claim that arose or accrued prior to
November ll. 2011, which is unsecured and is not entitled to priority under § 507(1) of the
United States Banl<;ruptcy Code.

ARTICLE I
CLASSIFICATION AN]) TREATMENT OF CLAIMS

l.la Class I- Administrative Claims

l.lb. Description: All administrative expenses, fees and allowances of compensation
as determined by the Banl<ruptcy Court, exclusive of the Claims provided for in Class ll, shall
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constitute Class l. lt is not anticipated that there will be any Allowed Class l Administrative
Expense Claims.

l.lc Treatment: The claims of Class l shall be paid in cash, in full, from available cash
generated from the continued operation of the Debtors’ business, on the Effective Date of the
Plan or at such later date as agreed upon by all parties concerned

1.1d lmpairrnent: T his Class is not impaired

l.2a Class ll - Administrative Operating Expenses

l.2b Description: All expenses incurred by the Debtors in the operation of its business
under Chapter 11, except as otherwise provided for in this Plan, shall constitute Class ll. lt is not
anticipated that there will be any Allowed Class ll Administrative Operating Expense Claims.

1.20 Treatment: All unpaid post-petition Class ll expenses and contracts not
heretofore or herein rejected by the Debtors shall be assumed by the Reorganized Debtors in
accordance with the terms and conditions of said contracts and shall be paid in the continued
ordinary course of the Reorganized Debtors’ business

l.2d lmpairment: This Class is not impaired

l.3a Class lll - Tax Claims of the lnternal Revenue Service Having Prioritv Under
5507(a)(8) of the Banl<ruptcv Code

l.3b Description: This Class consists of all prepetition priority taxes owed to the
lnternal Revenue Service as of the date of filing by the Debtors lt is not anticipated that there
will be any Allowed Class lll Tax Claims.

l.3c Treatment: Class lll claims shall be paid in quarterly installments over a
maximum period of sixty (60) months following the Effective Date of the Plan, with interest at
the legal rate prevailing on the Effective Date of the Plan. The first quarterly installment shall be
made on or before the twentieth (20m) day of the first (lst) full month following confirmation of
this Second lvlodified Plan of Rcorganization. The Debtors reserve the right to prepay said
claims in the event funds are available for this purpose prior to payments becoming due.

1.3d Impairment: This Class is impaired

1.4a Class lV - Tax Claims of the North Carolina Department of Revenue Having
Prioritv Under § 507(a)(8) of the Banl<ruptcv Code

l.4b Description: This Class consists of all prepetition priority taxes owed to the
North Carolina Department of Revenue as of the date of filing by the Debtors lt is not
anticipated that there will be any Allowed Class lV Tax Claims.
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1.4c Treatment: Class lV claims shall be paid in equal monthly installments over a
period of sixty (60) months following the Effective Date of the Plan, with interest at the legal
rate of interest prevailing at the Effective Date of the Plan. As of the date of the filing of the
Plan, the current legal rate of interest was set at five percent (5%). The Debtors reserve the right
to prepay said Claims in the event the funds are available for this purpose prior to payments
becoming due.

1.4d lmpairment: This Class is impaired

1.5a Class V ~ Tax Claims of the Empl-oment Security Commission Having Priority
Under § 507 ( a)( 8) of the Bankruptcv Code

1.5b Descrip_tion: This Class consists of all prepetition priority taxes owed to the
Employment Security Commission as of the date of filing by the Debtors lt is not anticipated
that there will be any Allowed Class V Tax Claims.

1.50 Treatment: Each Claim of Class V shall be paid in equal monthly installments
over a period of sixty (60) months following the Effective Date of the Plan, with interest at the
legal rate of interest prevailing at the Effective Date of the Plan. As of the date of the filing of
the Second Modified Plan, the current legal rate of interest was set at three percent (3%). The
Debtors reserve the right to prepay said Claims in the event the funds are available for this
purpose prior to payments becoming due.

1.5d lmpainnent: This Class is impaired

1.6a Class Vl ~ Tax Claims of Guilford Countv Having Prioritv Under
§ 507(a)(8) of the Banl<ruptcy Code

1.6b Description: This Class consists of all prepetition priority taxes owed to Guilford
County, North Carolina as of the date of filing by the Debtors lt is anticipated that there will be
forty-thousand, two hundred seventy eight dollars and fifty six cents ($40,278.56) of Allowed
Class Vl Tax Claims.

l.6c Treatment: The Class VI claims shall be paid in quarterly installments over a
maximum period of sixty (60) months following the Effective Date of the Plan, with interest at
the legal rate prevailing of ten and three tenths percent (10.3%) on the Effective Date of the Plan.
Guilford County shall maintain its current secured position on the same collateral it currently
holds as security and with the same priority unless otherwise provided in this Plan. The first (1“)
quarterly installment shall be made on or before the twentieth (20“1) day of the first (lst) full
month following confirmation of this Second Modified Plan of Reorganization. The Debtors
reserve the right to prepay said claims in the event funds are available for this purpose prior to
payments becoming due.

l.6d lmpairment: This Class is impaired
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1.7a Class Vll - Tax Claims of Randolph Countv l-laving Prioritv Under
§ 507(a)(8) of the Banl<ruptcv Code

1.7b Description: This Class consists of all prepetition priority taxes owed to
Randolph County, North Carolina as of the date of filing by the Debtors lt is anticipated that
there will be nine hundred and forty eight dollars ($948.00) worth of Allowed Class Vll Tax
Claims

l.7c Treatment: The Class Vll claims shall be paid in quarterly installments over a
maximum period of sixty (60) months following the Effective Date of the Plan, with interest at
the legal rate prevailing often and three tenths percent (10.3%) on the Effective Date of the Plan.
Randolph County shall maintain its current secured position on the same collateral it currently
holds as security and with the same priority unless otherwise provided in this Plan. The first (lst)
quarterly installment shall be made on or before the twentieth (20th) day of the first (lst) full
month following confirmation of this Second Modified Plan of Reorganization. The Debtors
reserve the right to prepay said claims in the event funds are available for this purpose prior to
payments becoming due.

1.7d lmpairment: This Class is impaired

l.8a Class Vlll - Tax Claims of Rockingham County Having Priority Under
5 507(a)(8) of the Banl<ruptcv Code

l.8b Description: This Class consists of all prepetition priority taxes owed to
Rockingham County, North Carolina as of the date of filing by the Debtors lt is anticipated that
there will be one thousand, eight hundred forty nine dollars and thirty seven cents ($1,849.37) of
Allowed Class VlIl Tax Claims.

1.80 Treatment: The Class Vlll claims shall be paid in quarterly installments over a
maximum period of sixty (60) months following the Effective Date of the Plan, with interest at
the legal rate prevailing of nine percent (9.0%) on the Effective Date of the Plan. Rockingham
County shall maintain its current secured position on the same collateral it currently holds as
security and with the same priority unless otherwise provided in this Plan. The first (lst)
quarterly installment shall be made on or before the twentieth (20th) day of the first (lst) full
month following connrmation of this Second l\/Iodified Plan of Reorganization. The Debtors
reserve the right to prepay said claims in the event funds are available for this purpose prior to
payments becoming due.

l.Sd lmpairrnent: This Class is impaired

l.9a Class lX - rl`ax Claims of Brunswicl< Countv Having Prioritv Under
§ 507'(a)(8) of the Bankrur)tcv Code

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1.9b Description: This Class consists of all prepetition priority taxes owed to
Brunswick County, North Carolina as of the date of filing by the Debtors lt is anticipated that
there will be six thousand, one hundred eighty two dollars and ninety eight cents ($6,182.98) of
Allowed Class IX Tax Claims

l.9c Treatment: The Class lX claims shall be paid in quarterly installments over a
maximum period of sixty (60) months following the Effective Date of the Plan, with interest at
the legal rate prevailing of nine percent (9.0%) on the Effective Date of the Plan. Brunswick
County shall maintain its current secured position on the same collateral it currently holds as
security and with the same priority unless otherwise provided in this Plan. The first (lst)
quarterly installment shall be made on or before the twentieth (20th) day of the first (1“) full
month following confirmation of this Second Modiiied Plan of Reorganization. The Debtors
reserve the right to prepay said claims in the event funds are available for this purpose prior to
payments becoming due.

l.9d lmpairment: This Class is impaired

1.10a Class X - Claims of the Citv of Greensboro llaving'Prioritv Under
§ 507(a)(8) of the Bankruptcv Code

1.10b Description: This Class consists of all prepetition priority debts owed to the City
of Greensboro, North Carolina as of the date of filing by the Debtors lt is anticipated that there
will be one thousand,_ three hundred and eighty six dollars ($1,386.00) of Allowed Class X
Claims

1.10c Treatment: The Class X claims shall be paid in quarterly installments over a
maximum period of sixty (60) months following the Effective Date of the Plan, with interest at
the legal rate prevailing of five percent (5.0%) on the Effective Date of the Plan. The City of
Greensboro shall maintain its current secured position on the same collateral it currently holds as
security and with the same priority unless otherwise provided in this Plan. The first (lst)
quarterly installment shall be made on or before the twentieth (20th) day of the first (lst) full
month following confirmation of this Second Modified Plan of Reorganization. The Debtors
reserve the right to prepay said claims in the event funds are available for this purpose prior to
payments becoming due.

1.10d lmpairment: This Class is impaired

1.11a Class Xl - Tax Claims Having Priority_r Under § 507§ a)§S) of the Banl<ruptcy
Code

l.llb Description: This Class consists of all taxes, excepting those set forth in Class lll
thru Class X owed as of the date of filing by the Debtors lt is not anticipated that there will be
any Allowed Class Xl Tax Claims

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l.l lc Treatment: Each Claim of Class Xl shall be paid in equal monthly installments
over a period of sixty (60) months following the Effective Date of the Plan, with interest at the
legal rate of interest prevailing at the Effective Date of the Plan. As of the date of the filing of
the Plan, the current legal rate of interest was set at three percent (3 .0%). The Debtors reserve
the right to prepay said Claims in the event the funds are available for this purpose prior to
payments becoming due.

l.l ld Impairment: This Class is impaired
SECURED CLAIMS
1.l2a Class XII ~Secured Claim of MidCarolina Banl<

l.l2b Description; l\/lidCarolina Bank has a Secured Claim pursuant to a note entered
into on or about August 6, 2008 in the original amount of three hundred and six thousand dollars
($306,000.00). The Loan is evidenced by a Promissory Note and Deed of Trust dated August 6,
2008. The Note is secured by the Debtors’ Real Property at 1423 E. Washington Street,
Greensboro, NC, 1312 l\/layfair Ave, Greensboro, NC, 13 l 0 Mayfair Ave, Greensboro, NC, 3544
Vernon Drive, l\/lcleansville, NC', 4696 Crossbend Road, l\/lcleansville, NC, 4694 Crossbend
Road, Mcleansville, NC, 4710 Crossbend Road, l\/lcleansville NC, 4706 Crossbend Road,
Mcleansville, NC, 4700 Crossbend Road, Mcleansville, NC, and 47`02 Crossbend Road,
Mcleansville, NC. The Note is also secured by the Debtors’ Personal Property, also known as a
2006 Cadillac DTX. The Debtors entered into a Modification Agreement, made September 10,
2009. Pursuant to the terms of the August 6, 2008 Note and the September 10, 2009
l\/lodification, the Note was to be paid at a rate of two thousand, three hundred eighty five dollars
($2,385.00) per month until August 10, 2013, at which time the balance of the Note of two
hundred fifty eight thousand, eight hundred forty three dollars and seventy two cents
($258,843.72) was to be due in full. lnterest was originally set at a rate of six point five percent
(6.5%). lt is anticipated that there will be an allowed Class Xll claim in the prepetition amount
of two hundred and ninety five thousand, five dollars ($295,005.00).

l.l2c Treatment: The Allowed Secured Claim of l\/lidCarolina Banl< shall be paid in
full. MidCarolina Banl< shall maintain its current secured position on the same Collateral it
currently holds as security and with the same priority The Class Xll Secured Claim shall be
treated as follows:

Upon information available to the Debtors, the Debtors’ Collateral securing the Note has
a fair market value of four hundred fifty five thousand, eight hundred twenty two dollars
($473,822.00) as a result the allowed claim of MidCarolina Bank shall be secured in full. The
fair market value of the MidCarolina Banl< collateral is based on a market value of eighty nine
thousand, seven hundred dollars ($39,700.00) for the real property located at 1423 E.
Washington, Greensboro, NC, seventy eight thousand, two hundred dollars ($78,200.00) for the
real property located at 1312 l\/layfair Avenue, Greensboro, NC, seventy eight thousand eight
hundred dollars ($78,800.00) for the real property located at 1310 Mayf`air Avenue, Greensboro,
NC, twenty seven thousand dollars ($27,000.00) for the real property located at 3544 Vernon

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Drive, Greensboro, NC, twenty seven thousand dollars ($27,000.00) for the real property located
at 4694 Crossbend Road, Greensboro, NC, twenty seven thousand dollars ($27,000.00) for the
real property located at 4696 Crossbend Road, Greensboro, NC, thirty thousand dollars
($30,000.00) for the real property located at 4710 Crossbend Road, Greensboro, NC, twenty four
thousand, six hundred dollars ($24,600.00) for the real property located at 4706 Crossbend Road,
Greensboro, NC, twenty eight thousand, eight hundred dollars ($28,800.00) for the real property
located at 4700 Crossbend Road, Greensboro, NC, twenty nine thousand, seven hundred dollars
($29,700.00) for the real property located at 4702 Crossbend Road, Greensboro, NC, six
thousand dollars ($6,000.00) for the real property located at 3544 Rear Vernon Drive,
Greensboro, NC, three thousand dollars ($3,000.00) for the real property located at 4696 Rear
Crossbend Road, Greensboro, NC, three thousand dollars ($3,000.00) for the real property
located at 4696 Rear Crossbend Road, Greensboro, NC, three thousand dollars ($3,000.00) for
the real property located at 4700 Rear Crossbend Road, Greensboro, NC and eighteen thousand,
twenty two dollars ($18,022.00) for'the personal property To the extent l\/[idCarolina Banl<;
objects to the valuation, the Debtors request that a valuation hearing, pursuant to §506(a) of the
Bankruptcy Code be conducted at the confirmation hearing The allowed secured claim of
MidCarolina Bank, as set forth above, or as determined at the §506(a) valuation hearing if
required, shall be paid in full as follows:

The Debtors shall pay l\/lidCarolina Banl< the balance due under the Note amortized over
a period of three hundred and sixty (3 60) months at a three percent (3.0%) interest rate and
payable in monthly installments until sixty (60) months following the Effective Date of the Plan
at which time the balance under the note shall be due in full. The Debtors shall have eighteen
(18) months in which to sell, by auction or by brolcer, the vacant lots (the lots located at 3544
Vernon Drive, Greensboro, NC, 4694 Crossbend Road, Greensboro, NC, 4696 Crossbend Road,
Greensboro, NC, 4710 Crossbend Road, Greensboro, NC, 4706 Crossbend Road, Greensboro,
NC, 4700 Crossbend Road, Greensboro, NC, 4702 Crossbend Road, Greensboro, NC, 3544 Rear
Vernon Drive, Greensboro, NC, 4696 Rear Crossbend Road, Greensboro,.NC, 4696 Rear
Crossbend Road, Greensboro, NC, and 4700 Rear Crossbend Road, Greensboro, NC)
(hereinafter the “MidCarolina Vacant Lots”) which are secured by the l\/lidCarolina Bank Note.
All proceeds received from the sale, after nomial and usual closing costs, of the MidCarolina
Vacant Lots shall be used to pay down the indebtedness owed under the Note. ln the event the
Debtors are unable to sell, by auction or by broker, the l\/lidCarolina Vacant Lots within eighteen
(18) months following the Effective Date of the Plan, the l\/IidCarolina Vacant Lots will be
surrendered to American National Banl<, as successor in interest to MidCarolina Banlc. Ameriean
National Banl< shall liquidate the MidCarolina Vacant Lots, with the proceeds received from the
liquidation, after normal and usual closing costs, being applied to pay down the indebtedness
owed under the Note. All payments shall be due and payable on the Hfteenth (15“‘) of each
month with the first (lst) payment due on the fifteenth (15“‘) day of the first (lst) full month
following the effective date of the Plan.

l.l2d This Class is impaired
l.l3a Class Xlll -Secured Claim of Bank of America

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1.13b Description: Bank of America has a Secured Claim pursuant to a note entered
into on or about December 20, 2005 in the original amount of sixty five thousand, six hundred
dollars ($65,600.00). The Loan is evidenced by a Promissory Note and Deed of Trust dated
December 20, 2005. The Note is secured by the Debtors’ Real Property at 3814-A Central
Avenue, Greensboro, NC. Pursuant to the terms of the December 20, 2005 Note , as of the date
of the filing of the petition the indebtedness was to be paid at a rate of two hundred seventy four
dollars and seventeen cents ($274.17) per month until l anuary l, 2046 at which time the balance
of the Note was due and payablel lnterest would accrue at a variable interest rate, which as of the
date of the petition was four and one half percent (4.5%). lt is anticipated that there will be an
allowed Class Xlll claim in the amount of fifty eight thousand, two hundred dollars and no cents
($58,200.00).

1.13c Treatment: The Allowed Secured Claim of Bank of America shall be paid in full.
Bank of Arnerica shall maintain its current secured position on the same Collateral it currently
holds as security and with the same priority. The Class Xlll Secured Claim shall be treated as
follows:

Upon information available to the Debtors, the Debtors’ Collateral securing the Note has
a fair market value of fifty eight thousand, two hundred dollars ($58,200.00) as a result the
allowed claim of Bank of America shall be secured in the amount of fifty eight thousand two
hundred dollars ($58,200.00). The fair market value of the Bank of America collateral is based
on a market value of fifty eight thousand, two hundred dollars ($58,200.00) for the real property
located at 3814~A Central Avenue, Greensboro, NC. The Debtors do not intend to bifurcate
Bank of America’s claim based on the December 20, 2005 Note, nor do the Debtors intend to
“cram down” Bank of America’s claim pursuant to ll U.S.C. § 1123(b)(5), other than in respect
to any arrearage claim that Bank of America may assert, as described below. To the extent Bank
of America objects to the valuation, the Debtors request that a valuation hearing, pursuant to
§506(a) of the Bankruptcy Code be conducted at the confirmation hearing The allowed secured
claim of Bank of America, as set forth above, or as determined at the §506(a) valuation hearing
if required, shall be paid in full as follows: '

The Debtors shall pay Bank of America pursuant to the terms and conditions of the
December 20, 2005 Note. lt is estimated that the amount owed under the December 20, 2005
Note is fifty eight thousand, two htuidred dollars ($58,200.00). lnterest shall accrue at a variable
interest rate, which as of the date of the petition was four and one half percent (4.5%). Bank of
Arnerica shall file a proof of claim within sixty (60) days following the Effective Date of the
Plan setting forth the arrearages owed under the Note, if any, at which time the Debtors shall
have thirty (30) days in which to object to said proof of claim. lf any arrearages are owed under
the Note, the same shall be payable in sixty (60) moritth installments, with the first payment to
begin the first (lst) full month following the Effective Date of the Plan. lnterest shall accrue on
the arrearages claim at a fixed interest rate of four percent (4.0%). ln the event Bank of America
fails to file a proof of claim for arrearages within sixty (60) days following the Effective Date of
the Plan, Bank of America will be deemed to have waived any claim for arrearages, and payment
of the same will be disallowed pursuant to this Plan. All payments shall be due and payable on
the fifteenth (l Sth) of each month with the first (lslt) payment due on the fifteenth (15th) day of the

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first (1“) full month following the effective date of the Plan.
l.l3d This Class is impaired
1.14a Class XlV -Secured Claims of JPl\/lorgan Chase
1.14b Description: JPl\/lorgan Chase has two Secured Claims, described as follows:

1.14b.i JPMorgan Chase has a Secured Claim pursuant to a note entered into on or
about June 30, 2004 in the original amount of eighty eight thousand dollars and no cents
($88,000.00) which is evidenced by a Promissory Note and Deed of Trust dated June 30, 2004
(hereinafter the “June 30 Note”). 'l`he June 30 Note is secured by the Debtors’ Real Property at
627 Danbury Bridge, l\/ladison, NC. Pursuant to the terms of the lune 30 Note, the indebtedness
was to be paid at a rate of four hundred ninety dollars and fifty cents ($490.50) per month tuitil
August l, 2011 at which time the indebtedness was to be paid at a rate of four hundred sixty
seven dollars and eleven cents ($467.11) per month until December l, 2011 at which time the
indebtedness was to be paid at a rate of five hundred thirty four dollars and fifty six cents
($534.56) per month until July 1, 2034 at which time the balance of the Note would be due and
payable lnterest would accrue at a rate of three point two six eight percent (3.268%). lt is
anticipated that there will be an allowed Class XlV claim in the prepetition amount of ninety
eight thousand, eight hundred fifty three dollars and seventy nine cents ($98,853.79) including
nine thousand, five hundred thirteen dollars and ninety nine cents ($9,513.99) in arrears

1,14b.ii JPMorgan Chase has a Secured Claim pursuant to a note entered on or
about June 29, 2004 in the original amount of one hundred five thousand, six hundred dollars and
no cents ($105,600.00) which is evidenced by a Promissory Note and Deed of rl`rust dated lurie
29, 2004 (hereinafter the “June 29 Note”). The lane 29 Note is secured by the Debtors’ Real
Property at 711 A & B Rollins Street, Greensboro, NC. Pursuant to the terms of the June 29
Note, the indebtedness was to be paid at a rate of six hundred thirty five dollars and fifty nine
cents ($635.59) per month until December 1, 2011 at which time the indebtedness was to be paid
at a rate of seven hundred seventy five dollars and sixty seven cents ($775.67) tmtil July 1, 2034
at which time the balance of the Note would be due and payable lnterest would accrue at a rate
of five percent (5.0%). lt is anticipated that there will be an allowed Class XlV claim in the
prepetition amount of ninety thousand, five hundred thirty eight dollars and ninety one cents
($90,538.91) including eleven thousand, eight hundred eighty six dollars and seventy four cents
($11,886.74) in arrears

1.14c Treatment: The Allowed Secured Claim of JPMorgan Chase shall be paid in full.
lPl\/lorgan Chase shall maintain its current secured position on the same Collateral it currently
holds as security and with the same priority. The Class XlV Secured Claim shall be treated as
follows:

1.14c.i Upon information available to the Debtors, the Debtors’ Collateral
securing the lune 30 Note has a fair market value of one hundred four thousand, six hundred and
fifty six dollars ($104,656.00) as a result of the allowed claim of JPMorgan Chase for the lune
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30 Note will be secured in full. The fair market value of the JPl\/lorgan Chase collateral is based
on a market value of one hundred four thousand six hundred and fifty six dollars (3104,656.00)
for the real property located at 627 Danbury Bridge Road, Madison, NC. To the extent JPl\/lorgan
Chase objects to the valuation, the Debtors request that a valuation hearing, pursuant to §506(a)
of the Bankruptcy Code be conducted at the confirmation hearing The allowed secured claim of
JPl\/lorgan Chase, as set forth above, or as determined at the §506(a) valuation hearing if
required, shall be paid in full as follows:

The Debtors shall pay JPMorgan Chase pursuant to the terms and conditions of the June
30 Note. JPl\/lorgan Chase shall file a proof of claim within sixty (60) days following the
Effective Date of the Plan setting forth the arrearages owed under the June 30 Note, if any, at
which time the Debtors shall have thirty (30) days with which to object to said proof of claim. lf`
any arrearages are owed under the June 30 Note, the same shall be payable in sixty (60) monthly
installments with the first payment to begin the first (l St) full month following the Effective Date
of the Plan. lnterest shall accrue on the arrearages claim at a fixed interest rate of three point two
six eight percent (3.268%). ln the event JPl\/lorgan Chase fails to file a proof of claim for
arrearages within sixty .(60) days following the Effective Date of the Plan, JPMorgan Chase will
be deemed to have waived any claim for arrearages, and payment of the same will be disallowed
pursuant to this Plan. All payments shall be due and payable on the fifteenth (15th) of each month
with the first (lst) payment due on the fifteenth (15th) day of the first (lst) full month following
the effective date of the Plan.

1.14c.ii Upon information available to the Debtors, the Debtors’ Collateral
securing the June 29 Note has a fair market value of one hundred twenty thousand dollars
($l20,000.00) as a result the allowed claim of JPMorgan Chase for the lune 30 Note will be
secured in full. The fair market value of the lPl\/lorgan Chase collateral is based on a market
value of one hundred twenty thousand dollars ($120,000.00) for the real property located at 711
A & B Rollins Street, Greensboro, NC. To the extent JPMorgan Chase objects to the valuation,
the Debtors request that a valuation hearing, pursuant to §506(a) of the Bankruptcy Code be
conducted at the confirmation hearing The allowed secured claim of JPMorgan Chase, as set
forth above, or as determined at the §506(a) valuation hearing if required, shall be paid in full as
follows:

The Debtors shall execute a new Note to lPl\/lorgan Chase. The Debtors shall repay the
balance due under the June 29 Note amortized over a three hundred and sixty (360) month
period lnterest shall accrue at the current Till interest rate, such interest rate estimated at five
and one quarter percent (5.25%). Payments shall be made in equal monthly installments All
payments shall be due and payable on the fifteenth (15“') of each month with the first (1“)
payment due on the fifteenth (lS'*h) day of the first (lst) full month following the effective date of
the Plan.

1.14d This Class is impaired
1.15a Class XV -Secured Claim of Bank of Oak Ridge

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1.15b Description: Bank of Oak Ridge has a Secured Claim pursuant to a note entered
into on or about December 22, 2010 in the original amount of one hundred and thirty five
thousand dollars ($135,000.00). The Loan is evidenced by a Commercial Promissory Note and
Deed of Trust dated December 22, 2010. The Note is secured by the Debtors’ Real Property at
5148 Randleman Road, Greensboro, NC. Pursuant to the terms of the Commercial Promissory
Note and the Deed of Trust the Note was to be paid at a rate of one thousand, sixty seven dollars
and one cent ($1,067.01) per month until December 22, 2015, at which time the remaining
balance of the note would be due in full. lnterest would accrue at a rate of seven and one quarter
percent (7.25%). lt is anticipated that there will be an allowed Class XV claim in the prepetition
amount of one hundred thirty four thousand, one hundred and twenty dollars and fifty one cents
($134,120.51) including one thousand, Hve hundred twenty eight dollars and two cents
($ l ,528.02) in arrears

1.l5c Treatment: The Allowed Secured Claim of Bank of Oak Ridge shall be paid in
full. Bank of Oak Ridge shall maintain its current secured position on the same Collateral it
currently holds as security and with the same priority. The Class XV Secured Claim shall be
treated as follows:

Upon information available to the Debtors the Debtors’ Collateral securing the Note has
a fair market value of one hundred ninety five thousand, four hundred dollars (3195,400.00) as a
result the allowed claim of Bank of Oak Ridge shall be secured in full. The fair market value of
the Bank of Oak Ridge collateral is based on a market value of one hundred ninety five thousand,
four hundred dollars ($195,400.00) for the real property located at 5148 Randleman Road,
Greensboro, NC. To the extent Bank of Oak Ridge objects to the valuation, the Debtors request
that a valuation hearing, pursuant to §506(a) of the Bankruptcy Code be conducted at the
confirmation hearing The allowed secured claim of Bank of Oak Ridge, as set forth above, or as
determined at the §506(a) valuation hearing if required, shall be paid in full as follows:

The Debtors shall execute a new Note to Bank of Oak Ridge, pursuant to the terms and
conditions of this Plan. The Debtors shall repay the principal indebtedness due under the Class
XV Secured Claim to Bank of Oak Ridge at the rate of one thousand, sixty seven dollars and one
cent ($1,067.01) per month for a period of sixty (60) months at which time the remaining
balance of the note shall be due in full unless otherwise agreed to by the Debtors and Bank of
Oak Ridge. lnterest shall accrue at a rate of seven and one quarter percent (7.25%). Bank of
Oak Ridge shall file a proof of claim within sixty (60) days following the Effective Date of the
Plan setting forth the arrearages owed under the Note, if` any, at which point the Debtors shall
have thirty (30) days with which to object to said proof of claim. lf any arrearages are owed
under the Note, the same shall be payable in sixty (60) monthly installments with the first
payment to begin the first flst) full month following the Effective Date of the Plan. lnterest shall
accrue on the arrearages claim at a fixed interest rate of seven and one quarter percent (7.25%).
ln the event Bank of Oak Ridge fails to file a proof of claim for arrearages within sixty (60) days
following the Effective Date of the Plan, Bank of Oak Ridge will be deemed to have waived any
claim for arrearages and payment of the same will be disallowed pursuant to this Plan. All
payments shall be due and payable on the fifteenth (l Sth) of each month with the first (1“)
payment due on the fifteenth (15“1) day of the first (1“) full month following the effective date of

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the Plan.
1.15d This Class is impaired
1.l6a Class XVI -Secured Claim ofWells Fargo Bank

1.16b Description: Wells Fargo Bank has thirty (3 0) Secured Claims, described as
follows:

1.l6b.i Wells Fargo Bank has a Secured Claim pursuant to a note entered into on
or about November 17, 2003 in the original amount of forty one thousand dollars and no cents
($41,000.00) which is secured by the Debtors’ Real Property at 801 Aladdin Street, Greensboro,
NC (hereinafter the “801 Aladdin Note”). The 801 Aladdin Note is evidenced by a Promissory
Note and Deed ofTrust dated November 17, 2003. Pursuant to the terms of the 801 Aladdin
Note the indebtedness was to be paid at a rate of one hundred and eighty dollars and seventeen
cents (3180.17) per month until December 1, 2033 at which time the balance of the Note would
be due and payablel lnterest would accrue at a rate of three percent (3.0%). It is anticipated that
there will be an allowed Class XVI claim in the prepetition amount of thirty nine thousand, five
hundred one dollars and eighty nine cents ($39,501.89) including two thousand four hundred
twenty nine dollars and fifty two cents ($2,429.52) in arrears.

1.l6b.ii Wells Fargo Bank has a Secured Claim pursuant to a note entered into on
or about August 25 , 2006 in the original amount of three hundred and fifty thousand dollars
($350,000.00) which is secured by the Debtors’ Real Property at 1107 E. Beach Drive, Oak
lsland, NC (hereinafter the “1107 E. Beach Note”). The 1107 E. Beach Note is evidenced by a
Promissory Note and Deed of Trust dated August 30, 2006. The Debtors entered into a second
Deed of Trust and Promissory Note dated October 12, 2007, and recorded October 24, 2007,
securing the principal amount of six hundred forty eight thousand, four hundred eighty five
dollars and no cents ($648,485.00). Pursuant to the terms of the 1107 E. Beach Note the
indebtedness was to be paid at a rate of four thousand, two hundred and seventy four dollars and
sixty seven cents ($4,274.67) per month until November 11, 2037 at which time the balance of
the Note Would be due and payable lnterest would accrue at a rate of eight and two one
hundredths percent (8.02%), lt is anticipated that there will be an allowed Class XVI claim in
the prepetition amount of six hundred eighty one thousand, nine hundred ninety five dollars and
ninety eight cents ($681,995.98) including two hundred sixty three thousand, eight hundred fifty
three dollars and ninety eight cents ($263,583.98) in arrears.

1.16b.iii Wells Fargo Bank has a Secured Claim pursuant to a note entered into on
or about December 8, 2003 in the original amount of sixty six thousand dollars ($66,000.00)
which is secured by the Debtors’ Real Property at 2503 E. Bessemer Ave, GreensboroJ NC
(hereinafter the “2503 E. Bessemer Note”). The 2503 E. Bessemer Note is evidenced by a
Promissory Note and Deed ofTrust dated December 8, 2003. Pursuant to the terms of the 2503
E. Bessemer Note the indebtedness was to be paid at a rate of two hundred ninety dollars and
seventeen cents ($290.17) per month until January 1, 2034 at which time the balance of the Note
would be due and payable lnterest would accrue at a variable interest rate, which at the date of

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the petition was three percent (3.0%). lt is anticipated that there will be an allowed Class XVI
claim in the prepetition amount of sixty two thousand, three hundred eighty one dollars and
ninety one cents ($62,381.91) including four thousand, two hundred seventy eight dollars and
thirty eight cents ($4,278.38) in arrears.

1.l6b.iv Wells Fargo Bank has a Secured Claim pursuant to a note entered into on
or about November 17, 2003 in the original amount of seventy four thousand, two hundred
dollars and no cents ($74,200.00) which is secured by the Debtors’ Real Property at 2604 Brim
Road, Greensboro, NC (hereinafter the “2604 Brim Note”). The Real Property at 2604 Brim
Road is a duplex, and has the property address of both 2604 Brim Road and 2606 Brim Road,
Greensboro, NC. The 2604 Brim Note is evidenced by a Promissory Note and Deed of Trust
dated November 17, 2003. Pursuant to the terms of the 2604 Brim Note the indebtedness was to
be paid at a rate of three hundred twenty six dollars and nine cents ($326.09) per month until
December l, 2033 at which time the balance of the Note would be due and payable. lnterest
would accrue at a variable interest rate, which at the date of the petition was three percent
(3.0%). It is anticipated that there will be an allowed Class XVl claim in the prepetition amount
of sixty nine thousand, three hundred thirty six dollars and forty three cents ($69,336.43)
including five thousand, sixty eight dollars and seventy cents ($5,068.70) in arrears.

1.l6b.v Wells F argo Bank has a Secured Claim pursuant to a note entered into on
or about November 17., 2003 in the original amount of seventy four thousand, six hundred dollars
and no cents ($74,600.00) which is secured by the Debtors’ Real Property at 2608 Brim Road,
Greensboro, NC (hereinafter the “2608 Brim Note”). The Real Property at 2608 Brim Road is a
duplex, and has the property address of both 2608 Brim Road and 2610 Brim Road, Greensboro,
l\lC. The 2608 Brim Note is evidenced by a Promissory Note and Deed of Trust dated November
17, 2003. Pursuant to the terms of the 2608 Brim Note the indebtedness was to be paid at a rate
of three hundred, twenty seven dollars and eighty four cents ($327.84_) per month until December
1, 2033 at which time the balance of the Note would be due and payable lnterest would accrue
at a variable interest rate, which at the date of the petition was three percent (3.0%). lt is
anticipated that there will be an allowed Class XVI claim in the prepetition amount of sixty nine
thousand, seven hundred ninety one dollars and fifty nine cents ($69,791.59) including four
thousand, eight hundred eighty one dollars and sixty seven cents ($4,881.67) in arrears.

1.l6b.vi Wells Fargo Bank has a Secured Claim pursuant to a note entered into on
or about December 8, 2003 in the original amount of seventy three thousand, five hundred
dollars and no cents ($73-,500.00) which is secured by the Debtors’ Real Property at 2612 Brim
Road, Greensboro, NC (hereinafter the “2612 Brim Note”). The Real Property at 2612 Brim
Road is a duplex, and has the property address of both 2612 Brim Road and 2614 Brim Road,
Greensboro, NC. The 2612 Brim Note is evidenced by a Promissory Note and Deed ofTrust
dated December 8, 2003. Pursuant to the terms of the 2612 Brim Note the indebtedness was to be
paid at a rate of three hundred sixteen dollars and forty cents ($316.40) per month until January
1, 2034 at which time the balance of the Note would be due and payable lnterest would accrue
at a variable interest rate, which at the date of the petition was three percent (3 .0%). lt is
anticipated that there will be an allowed Class XVI claim in the prepetition amount of sixty

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seven thousand, one hundred fifty seven dollars and sixty cents ($67,157.60) including three
thousand, nine hundred ninety one dollars and seventy six cents ($3,991.76) in arrears.

1.16b.v1'i Wells Fargo Bank has a Secured Claim pursuant to a note entered into on
or about December 8, 2003 in the original amount of seventy three thousand dollars and no cents
($73,000.00) which is secured by the Debtors’ Real Property at 2616 Brim Road, Greensboro,
NC (hereinafter the “2616 Brim Note”). The Real Property at 2616 Brim Road is a duplex, and
has the property address of both 2616 Brim Road and 2618 Brim Road, Greensboro, NC. The
2616 Brim Note is evidenced by a Promissory Note and Deed of T rust dated December 8, 2003.
Pursuant to the terms of the 2616 Brim Note the indebtedness was to be paid at a rate of three
hundred twenty dollars and ninety five cents ($320.95) per month until .lanuary l, 2034 at which
time the balance of the Note would be due and payable lnterest would accrue at a variable
interest rate, which at the date of the petition was three percent (3.0%). lt is anticipated that
there will be an allowed Class XVl claim in the prepetition amount of sixty eight thousand, five
hundred thirty four dollars and seventy four cents ($68,534.74) including four thousand seven
hundred forty eight dollars and ninety eight cents ($4,748.98) in arrears.

1.16b.viii Wells Fargo Bank has a Secured Claim pursuant to a note entered into on
or about November 27, 2001 in the original amount of sixty six thousand, seven hundred and
fifty dollars ($66,750.00) which is secured by the Debtors’ Real Property at 3724 Central
Avenue, Greensboro, NC (hereinafter the “37 24 Central Note”). The 3724 Central Note is
evidenced by a Promissory Note and Deed of Trust dated November 27, 2001. Pursuant to the
terms of the 3724 Central Note the indebtedness was to be paid at a rate of two hundred ninety
nine dollars and forty two cents ($299.42) per month until December 1, 2031 at which time the
balance of the Note would be due and payable lnterest would accrue at a variable interest rate,
which at the date of the petition was two and eight hundred, seventy five one tlrousandths percent
(2.875%). lt is anticipated that there will be an allowed Class XVl claim in the prepetition
amount of fifty eight thousand, three hundred forty seven dollars and ten cents ($58,347.10)
including three thousand, four hundred thirty two dollars and three cents ($3,432.03) in arrears.

1.16b.ix Weils Fargo Bank has a Secured Claim pursuant to a note entered into on
or about December 8, 2003 in the original amount of seventy one thousand, two hundred dollars
and no cents ($71,200.00) which is secured by the Debtors’ Real Property at 3816 A Central
Avenue, Greensboro, NC (hereinafter the “3816 A Central Note”). The 3816 A Central Note is
evidenced by a Promissory Note and Deed of Trust dated December 8, 2003. Pursuant to the
terms of the 3816 A Central Note the indebtedness was to be paid at a rate of five hundred, six
dollars and sixty six cents ($506.66) per month until January 4, 2034 at which time the balance
of the Note would be due and payable lnterest would accrue at a variable interest rate, which at
the date of the petition was three percent (3..0%). lt is anticipated that there will be an allowed
Class XVl claim in the prepetition amount of fifty four thousand, four hundred fifty three dollars
and five cents ($54,453.05).

1.l6b.x Wells Fargo Bank has a Secured Claim pursuant to a note entered into on
or about December 8, 2003 in the original amount of forty thousand dollars and no cents
($40,000.00) which is secured by the Debtors’ Real Property at 3816 Central Avenue,

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Greensboro, NC (hereinafter the “3816 Central Note”). The 3816 Central Note is evidenced by a
Promissory Note and Deed of Trust dated December 8, 2003. Pursuant to the terms of the 3816
Central Note the indebtedness was to be paid at a rate of one hundred seventy five dollars and
eighty five cents (8175.85) per month until January l, 2034 at which time the balance of the
Note would be due and payable lnterest would accrue at a variable interest rate, which at the
date of the petition was three percent (3.0%). lt is anticipated that there will be an allowed Class
XVI claim in the prepetition amount of thirty eight thousand, six hundred thirty three dollars and
ninety eight cents ($38,633.98) including two thousand, two hundred eighteen dollars and forty
seven cents ($2,218.47) in arrears.

l.l6b.xi Wells Fargo Bank has a Secured Claim pursuant to a note entered into on
or about December 8, 2003 in the original amount of fifty two thousand, five hundred dollars and
no cents ($52,500.00) which is secured by the-Debtors’ Real Property at 700 Cole Street,
Greensboro, NC (hereinafter the “700 Cole Note”). The 700 Cole Note is evidenced by a
Promissory Note and Deed of Trust dated December 8, 2003. Pursuant to the terms of the 700
Cole Note the indebtedness was to be paid at a rate of two hundred thirty dollars and eighty one
cents ($23 0.81) per month until January 1, 2034 at which time the balance of the Note would be
due and payable lnterest would accrue at a variable interest rate, which at the date of the
petition Was three percent (3.0%). lt is anticipated that there will be an allowed Class XVl claim
in the prepetition amount of` forty nine thousand, three hundred forty five dollars and-fifteen
cents ($49,345.15) including three thousand, one hundred thirty nine dollars and eighty five cents
(83 ,13 9. 85) in arrears.

1.16b.xii Wells Fargo Bank has a Secured Claim pursuant to a note entered into on
or about June 29, 2007 in the original amount of fifty one thousand dollars and no cents
($51,000.00) which is secured by the Debtors’ Real Property at 543 Denny Road, Greensboro,
NC (hereinafter the “543 Denny Note”). The 543 Denny Note is evidenced by a Promissory
Note and Deed of Trust dated June 29, 2007. Pursuant to the terms of the 543 Denny Note the
indebtedness was to be paid at a rate of two hundred forty eight dollars and seventy cents
($248.70) per month until February 1, 2011 at which time the indebtedness was to be paid at a
rate of three hundred sixteen dollars and twenty seven cents ($316.27) until July 1, 2011 at which
time the indebtedness was to be paid at a rate of three hundred thirty four dollars and ninety two
cents ($334.92) until luly 1, 2037 at which time the balance of theNote would be due and
payable interest would accrue at a rate of seven and fifty five one hundredths percent (7.55%).
lt is anticipated that Wells Fargo’s Secured Claim based on the 543 Denny Note will be
bifurcated and “crammed down” pursuant to 11 U.S.C. § ll23(b)(5). As a result, it is anticipated
that there will be an allowed Class XVI claim in the prepetition amount of forty eight thousand,
two hundred dollars and no cents (848,200.00) and an allowed Class XIX ~ General Unsecured
Claim in the amount of fourteen thousand, seven hundred thirty seven dollars and fifty four cents
($14,737.54).

1.16b.xiii Wells Fargo Bank has a Secured Claim pursuant to a note entered into on
or about Jture 14, 2002 in the original amount of sixty seven thousand, five hundred dollars and
no cents ($67,500.00) which is secured by the Debtors’ Real Property at 3939~A Eastland
Avenue, Greensboro, NC (hereinafter the “3 939 A Eastland Note”). The 3939 A Eastland Note
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is evidenced by a Promissory Note and Deed of Trust dated June 14, 2002. Pursuant to the terms
of the 3939 A Eastland Note the indebtedness was to be paid at a rate of five hundred one dollars
and nineteen cents ($501.19) per month until .luly 2012 at which time the interest rate of the Note
would change and the payment rate would adjust accordingly Payments would continue under
the 3939 A Eastland Note until July 1, 2032 when the balance of the Note would be due and
payable lnterest would accrue at a variable interest rate, which was originally a rate of` eight and
one hundred twenty five one thousandths percent (8.125%). At the petition date interest was
accruing at the rate of three percent (3 .0%). lt is anticipated that there will be an allowed Class
XVl claim in the prepetition amount of sixty one thousand, two hundred fourteen dollars and
fifty three cents ($61,214.53).

l.l6b.xiv Wells F argo Bank has a Secured Claim pursuant to a note entered into on
or about lune 14, 2002 in the original amount of sixty six thousand, three hundred seventy five
dollars and no cents (866,375.00) (hereinafter the “3943 Eastland Note”). The 3943 Eastland
Note is evidenced by a Promissory Note and Deed of Trust dated June 14, 2002. The Deed of
Trust lists the address of the Real Property that secures the 3943 Eastland Note as 3945 Eastland
Avenue, Greensboro, NC. The Debtors did not own an interest in the Real Property located at
3945 Eastland Ave, Greensboro, NC. As such, the Debtors will be objecting to Wells Fargo
Bank’s Proof of Clairn, and will be moving to have the Deed of Trust set aside The 3943
Eastland Note is not properly secured lt is anticipated that the Debtors will be objecting to
Wells Fargo Banl<’s Class XVI claim in the prepetition amount of sixty thousand, one hundred
sixty nine dollars and eighty eight cents ($60,169.88).

1.l6b.xv Wells Fargo Bank has a Secured Claim pursuant to a note entered into on
or about December 8, 2003 in the original amount of fifty two thousand, five hundred dollars and
no cents (852,500.00) which is secured by the Debtors’ Real Property at 3527 Fiesta Drive,
Greensboro, NC (hereinafter the “'3527 Fiesta Note”). The 3527 Fiesta Note is evidenced by a
Promissory Note and Deed of"l`rust dated December 8, 2003. Pursuant to the terms of the 3527
Fiesta Note the indebtedness was to be paid at a rate of two hundred twenty two dollars and no
cents ($222.00) per month until l anuary l, 2034 at which time the balance of the Note would be
due and payable lnterest would accrue at a variable interest rate, which at the date of the
petition was three percent (3.0%). lt is anticipated that there will be an allowed Class XVI claim
in the prepetition amount of forty eight thousand, fifty three dollars and seven cents ($48,053.07)
including two thousand, seven hundred seventy four dollars and twenty one cents ($2,774.21) in
arrears.

1.16b.xvi Wells Fargo Bank has a Secured Claim pursuant to a note entered into on
or about December 8, 2003 in the original amount of sixty thousand, five hundred dollars and no
cents ($60,500.00) which is secured by the Debtors’ Real Property at 2217 West Florida Street,
Greensboro, NC (hereinafter the “2217 Florida Note”). The 2217 Florida Note is evidenced by a
Promissory Note and Deed of Trust dated December 8, 2003. Pursuant to the terms of the 2217
Florida Note the indebtedness was to be paid at a rate of three hundred forty three dollars and
fifty one cents ($343.51) per month until January 2009 at which time the interest rate would
change, and the payments would adjust Payments under the 2217 Florida Note would continue
until January 1, 2034 at which time the balance of the Note would be due and payable lnterest

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would accrue at a variable interest rate, which was originally five and one half percent (5.5%),
which rate changed to three percent (3.0%) at the date of the petition. lt is anticipated that there
will be an allowed Class XVl claim in the prepetition amount of fifty seven thousand, two
hundred twelve dollars and fifty seven cents ($57,212.57).

1.16b.xvii Wells Fargo Bank has a Secured Claim pursuant to a note entered into on
or about March 10, 2005 in the original amount of four hundred seventy five thousand dollars
and no cents ($475,000.00) which is secured by the Debtors’ Real Property at 3703 Friendly
Acres Drive, Greensboro, NC (hereinafter the “37 03 Friendly Acres Note”). The 370-3 Friendly
Acres Note is evidenced by a Promissory Note and Deed of Trust dated March 10, 2005.
Pursuant to the terms of the 3703 Friendly Acres Note the indebtedness was to be paid at a rate
of one thousand, one hundred sixty four dollars and seventeen cents ($l,164.17) per month until
March 9, 2045 at which time the balance of the Note would be due and payable lnterest would
accrue at a variable interest rate, which at the date of the petition was three percent (3.0%). lt is
anticipated that there will be an allowed Class XVl claim in the prepetition amount of four
hundred eighty one thousand, nine hundred ninety two dollars and eighteen cents ($481,992.18)
including two thousand three hundred fifty eight dollars and sixty six cents ($2,358.66) in
arrears.

l.l6b.xviii Wells Pargo Bank has a Secured Claim pursuant to a note entered into on
or about April 20, 2007 in the original amount of sixty thousand dollars and no cents
($60,000.00) which is secured by the Debtors’ Real Property at 1809 Gatewood Avenue,
Greensboro, NC (hereinafter the “1809 Gatewood Note”). The 1809 Gatewo_od Note is
evidenced by a Promissory Note and Deed of Trust dated April 20, 2007. Pursuant to the terms
of the 1809 Gatewood Note the indebtedness was to be paid at a rate of two hundred ninety two
dollars and fifty eight cents ($292.58) per month until May 1, 2037 at which time the balance of
the Note would be due and payable lnterest would accrue at a rate of seven and one tenth
percent (7.1%). lt is anticipated that Wells Fargo’s Secured Claim based on the 1809 Gatewood
Note will be bifurcated and “crammed down” pursuant to 11 U.S.C. § 1123 (b)(5). As a result, it
is anticipated that there will be an allowed Class XVl claim in the prepetition amount of sixty
two thousand, three hundred dollars and no cents ($62,300.00) and an allowed Class XlX »-
General Unsecured Claim in the amount of ten thousand, five hundred eighty two dollars and
thirty nine cents (810,582.39).

1.16b.xix Wells Fargo Bank has a Secured Claim pursuant to a note entered into on
or about November 26, 2007 in the original amount of seventy six thousand dollars and no cents
($76,000.00) which is secured by the Debtors’ Real Property at 1705 Gordon Street, Greensboro,
NC (hereinafter the “1705 Gordon Note”). The 1705 Gordon Note is evidenced by a Promissory
Note and Deed of` Trust dated November 26, 2007 . Pursuant to the terms of the 1705 Gordon
Note the indebtedness was to be paid at a rate of three hundred ninety dollars and seventy three
cents ($390.73) per month until December 1, 2037 at which time the balance of the Note would
be due and payable lnterest would accrue at a rate of seven and six tenths percent (7.6%). lt is
anticipated that there will be an allowed Class XVl claim in the prepetition amount of ninety
thousand, nine hundred thirteen dollars and thirteen cents ($90,913.13) including ten thousand,
one hundred seventy three dollars and seventy four cents ($10,173.74) in arrears.

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1.16b.xx Wells Fargo Bank has a Secured Claim pursuant to a note entered into on
or about October 27, 2003 in the original amount of forty six thousand dollars and no cents
($46,000.00) which Note is secured by the Debtors’ Real Property at 1301 l~lickory Street,
Greensboro, NC (hereinafter the “1301 llickory Note”). The 1301 Hickory Note is evidenced by
a Promissory Note and Deed of T rust dated October 27, 2003. Pursuant to the terms of the 1301
Hickory Note the indebtedness was to be paid at a rate of two hundred dollars and eighty seven
cents ($200.87) per month until November 1, 2033 at which time the balance of the Note would
be due and payable lnterest would accrue at a variable interest rate, which at the date of the
petition was three percent (3.0%). lt is anticipated that there will be an allowed Class XVI claim
in the prepetition amount of forty three thousand, two hundred ninety nine dollars and nine cents
($43,299.09) including two thousand seven hundred six dollars and one cent ($2,706.01) in
arrears

1.16b.xxi Wells Fargo Bank has a Secured Claim pursuant to a note entered into on
or about April 20, 2007 in the original amount of sixty four thousand, eight hundred dollars and
no cents ($64,800.`00) which is secured by the Debtors’ Real Property at 1208 Huffine l\/lill
Road, Greensboro, NC (hereinafter the “1208 Huf`fine Note”). The 1208 Huffine Note is
evidenced by a Promissory Note and Deed of Trust dated April 20, 2007. Pursuant to the terms
of the 1208 l-luffine Note the indebtedness was to be paid at a rate of four hundred twenty seven
dollars and seven cents ($423.07) per month until May 1, 2037 at which time the balance of the
Note would be due and payable lnterest would accrue at a rate of seven and three tenths percent
(7.3%). lt is anticipated that there will be an allowed Class XVl claim in the prepetition amount
of` eighty eight thousand, two hundred eighty one dollars and one cent ($88,281.01) including
seven thousand, twenty seven dollars and ten cents ($7,027.10) in arrears.

1.16b.xxii Wells Fargo Bank has a Secured Claim pursuant to a note entered into on
or about October 27, 2003 in the original amount of thirty seven thousand, five hundred dollars
and no cents ($37,500.00) which is secured by the Debtors’ Real Property at 1400 Kingston
Road, Greensboro, NC (hereinafter the “1400 Kingston Note”). The 1400 Kingston Note is
evidenced by a Promissory Note and Deed of Trust dated October 27, 2003. Pursuant to the
terms of the 1400 Kingston Note the indebtedness was to be paid at a rate of one hundred sixty
one dollars and ninety nine cents ($161.99) per month until November 1, 2033 at which time the
balance of the Note would be due and payable lnterest would accrue at a variable interest rate,
which at the date of the petition was three percent (3.0%). lt is anticipated that there will be an
allowed Class XVI claim in the prepetition amount of thirty four thousand, two hundred sixteen
dollars and ninety seven cents ($34,216.97) including two thousand, one hundred eighty two
dollars and twenty seven cents ($2,182.27) in arrears. '

1.l6b.xxiii Wells Fargo Bank has a Secured Claim pursuant to a note entered into on
or about October 27 , 2003 in the original amount of forty three thousand dollars and no cents
($43,000.00) which is secured by the Debtors’ Real Property at 3618 lvlartin Street, Greensboro,
NC (hereinafter the “36 1 8 Martin Note”). The 3618 l\/fartin Note is evidenced by a Promissory
Note and Deed of Trust dated October 27, 2003. Pursuant to the terms of the 3618 Martin Note
the indebtedness was to be paid at a rate of one hundred eighty nine dollars and forty six cents
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($189.46) per month until November 1, 2033 at which time the balance of the Note would be due
and payable lnterest would accrue at a variable interest rate, which at the date of the petition was
three percent (3.0%). lt is anticipated that there will be an allowed Class XVl claim in the
prepetition amount of forty one thousand, eighty three dollars and fifty three cents ($41,083.53)
including two thousand, five hundred fifty two dollars and thirty four cents ($2,552.34) in
arrears.

1.16b.xxiv Wells Fargo Bank has a Secured Claim pursuant to a note entered into on
or about April 20, 2007 in the original amount of seventy eight thousand, eight hundred dollars
and no cents ($78,800.00) which is secured by the Debtors’ Real Property at 3620 Martin
Avenue, Greensboro, NC (hereinafter the “3620 Martin Note”). The 3620 Martin Note is
evidenced by a Promissory Note and Deed of Trust dated April 20, 2007. Pursuant to the terms
of the 3620 Martin Note the indebtedness was to be paid at a rate of three hundred eighty four
dollars and twenty five cents ($384.25) per month until l\/lay 1, 2037 at which time the balance of
the Note would be due and payable lnterest would accrue at a rate of seven and three tenths
percent (7.3%). lt is anticipated that Wells Fargo’s Secured Claim based on the 3620 Martin
Note will be bifurcated and “crammed down” pursuant to 11 U.S.C. § 1123(b)(5). As a result, it
is anticipated that there will be an allowed Class XVl claim in the prepetition amount of eighty
three thousand, one hundred dollars and no cents (883,100.00) and an allowed Class XlX -
General Unsecured Claim in the amount of twelve thousand, two hundred ninety dollars and
forty two cents (312,290.42).

1.16b.xxv Wells Fargo Bank has a Secured Claim pursuant to a note entered into on
or about April 20, 2007 in the original amount of sixty five thousand dollars and no cents
($65,000.00) which is secured by the Debtors’ Real Property at 2023 Pine Bluff Street,
Greensboro, NC (hereinafter the c‘2023 Pine BluffNote”). The 2023 Pine BluffNote is
evidenced by a Promissory Note and Deed of Trust dated April 20, 2007. Pursuant to the terms
of the 2023 Pine Bluff`Note the indebtedness was to be paid at a rate of three hundred sixteen
dollars and ninety seven cents ($316.97) per month until May 1, 2037 at which time the balance
of the Note would be due and payable lnterest would accrue at a rate of seven and three tenths
percent (7.3%). lt is anticipated that there will be an allowed Class XVI claim in the prepetition
amount of eighty thousand, sixty three dollars and ninety one cents ($80,063.91) including nine
thousand, sixteen dollars and twenty nine cents ($9,016.29) in arrears.

1.16b.xxvi Wells Fargo Bank has a Secured Claim pursuant to a note entered into on
or about l\/larch 11, 2002 in the original amount of sixty six thousand, seven hundred and fifty
dollars ($66,750.00) which is secured by the Debtors’ Real Property at 1712 Ryan Street,
Greensboro, NC (hereinafter the “1 712 Ryan Note”). The 1712 Ryan Note is evidenced by a
Promissory Note and Deed ofTrust dated March 11, 2002. Pursuant to the terms of the 1712
Ryan Note the indebtedness was to be paid at a rate of two hundred ninety eight dollars and five
cents ($298.05) per month until April 1, 2032 at which time the balance of the Note would be
due and payable lnterest would accrue at a variable interest rate, which at the date of the petition
was three percent (3.0%). lt is anticipated that there will be an allowed Class XVI claim in the
prepetition amount of sixty thousand, six hundred ninety one dollars and seventy nine cents

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($60,691.79) including five thousand, four hundred sixty three dollars and twenty one cents
($5,463.21) in arrears.

1.16b.xxvii Wells Fargo Bank has a Secured Claim pursuant to a note entered into on
or about November 17, 2003 in the original amount of forty four thousand dollars and no cents
($44,000.00) which is secured by the Debtors’ Real Property at 908 West Terrell Street,
Greensboro, NC (hereinafter the “908 Terrell Note”). The 908 Terrell Note is evidenced by a
Promissory Note and l_)eed of Trust dated November 17, 2003. Pursuant to the terms of the 908
Terrell Note the indebtedness was to be paid at a rate of one hundred ninety three dollars and
twenty four cents ($193.24) per month until December 1, 2033 at which time the balance of the
Note would be due and payable lnterest would accrue at a variable interest rate, which at the
date of the petition was three percent (3.0%). lt is anticipated that there will be an allowed Class
XVl claim in the prepetition amount of forty two thousand, nine hundred twenty eight dollars
and fifty cents ($42,928.50) including two thousand, six hundred twenty eight dollars and
seventy four cents ($2,628.74) in arrears.

1.16b.xxviii Wells F argo Bank has a Secured Claim pursuant to a note entered into on
or about November 17, 2003 in the original amount of forty nine thousand dollars and no cents
($49,000.00) which is secured by the Debtors’ Real Property at 1801 Willowmore Street,
Greensboro, NC (hereinafter the “1801 Willowmore Note”). The 1801 Willowmore Note is
evidenced by a Promissory Note and Deed of Trust dated November 17, 2003. Pursuant to the
terms of the 1801 Willowmore Note the indebtedness was to be paid at a rate of two hundred
fifteen dollars and thirty three cents (8215.33) per month until December 1, 2033 at which time
the balance of the Note would be due and payable lnterest would accrue at a variable interest
rate, which at the date of the petition was three percent (3.0%). lt is anticipated that there will be
an allowed Class XVl claim in the prepetition amount of forty five thousand, three hundred
twenty five dollars and eighty one cents ($45,325.81) including two thousand, nine hundred
twenty nine dollars and eighteen cents ($2,929.18) in arrears.

1.16b.xxix Wells F argo Bank has a Secured Claim pursuant to a note entered into on
or about January 30, 2002 in the original amount of sixty seven thousand, one hundred twenty
five dollars and no cents ($67,125.00) which is secured by the Debtors’ Real Property at 4109
Woodale Lane, Greensboro, NC (hereinafter the “4109 Woodale Note”). The 4109 Woodale
Note is evidenced by a Promissory Note and Deed of Trust dated January 30, 2002. Pursuant to
the terms of the 4109 Woodale Note the indebtedness was to be paid at a rate of four hundred
ninety eight dollars and forty one cents ($498.41) per month until September 2003 at which time
the interest rate was reduced to four and eight hundred seventy five one thousandths percent
(4.875%) at which time monthly payments would be reduced until September 2008 at which
time the interest rate would change again and monthly payments would resume under the new
interest rate until February 1, 2032 at which time the balance of` the Note would be due and
payable lnterest would accrue at a variable interest rate, which at the date of the petition was
three percent (3.0%). lt is anticipated that there will be an allowed Class XVl claim in the
prepetition amount of sixty thousand, one hundred thirty four dollars and twenty two cents
($60,134.22).

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1.16b.xxx Wells Fargo Bank has a Secured Claim pursuant to a note entered into on
or about November 17, 2003 in the original amount of fifty nine thousand, five hundred dollars
and no cents ($59,500.00) which is secured by the Debtors’ Real Property at 4110 Woodale
Lane, Greensboro, NC (hereinafter the “41 10 Woodale Note”). The 41 10 Woodale Note is
evidenced by a Promissory Note and Deed of Trust dated November 17, 2003. Pursuant to the
terms of the 4110 Woodale Note the indebtedness was to be paid at a rate of two hundred sixty
one dollars and forty nine cents ($261.49) per month until December 1, 2033 at which time the
balance of the Note would be due and payable lnterest would accrue at a variable interest rate,
which at the date of the petition was three percent (3.0%). lt is anticipated that there will be an
allowed Class XVl claim in the prepetition amount of fifty six thousand, four hundred twenty
two dollars and sixty four cents ($56,422.64) including four thousand, three hundred twenty nine
dollars and thirty seven cents ($4,329.37) in arrears.

1.16c Treatment: The Allowed Secured Claim of Bank of Wells Fargo Bank shall be
paid in full. Wells Fargo Bank shall maintain its current secured position on the same Collateral
it currently holds as security and with the same priority The Class XV l Secured Claim shall be
treated as follows:

1.16c.i Upon information available to the Debtors, the Debtors’ Collateral
securing the 801 Aladdin Note has a fair market value of forty six thousand, six hundred dollars
and no cents ($46,600.00) as a result the allowed claim of Wells Fargo Bank for the 801 Aladdin
Note shall be secured in full. The fair market value of the Wells Fargo Bank collateral is based
on a market value of forty six thousand, six hundred dollars and no cents ($46,600.00) for the
real property located at 801 Aladdin Street, Greensboro, NC. To the extent Wells Fargo Bank
objects to the valuation, the Debtors request that a valuation hearing, pursuant to §506(a) of` the
Bankruptcy Code be conducted at the confirmation hearing The allowed secured claim of Wells
Fargo Banl<, as set forth above, or as determined at the §506(a) valuation hearing if required,
shall be paid in full as follows:

Pursuant to the terms and conditions of this Plan, the Automatic Stay shall be lifted on
the collateral securing the 801 Aladdin Note as of the Effective Date of the Plan. Wells Fargo
Bank shall liquidate the collateral and apply the proceeds against the claim. Wells Fargo shall be
entitled to one hundred and twenty (120) days from the date the Debtors surrender the Collateral
in which to amend their Proof of Claim, or file a new Proof of` Claim, asserting any deficiency
balance that may be owed. Any deficiency owed shall be paid pursuant to Class XlX General
Unsecured below.

1.l6c.ii Upon information available to the Debtors, the Debtors’ Collateral
securing the l 107 E. Beach Note has a fair market value of three hundred thirty one thousand,
four hundred eighty dollars and no cents ($331,480.00) as a result the allowed claim ofWells
Fargo Bank shall be secured in the amount of three hundred thirty one thousand, four hundred
eighty dollars and no cents ($331,480.00). The fair market value of the Wells Fargo Bank
collateral is based on a market value of three hundred thirty one thousand, four hundred eighty
dollars and no cents ($331,480.00) for the real property located at 1107 E. Beach Drive, Oak
lsland, NC. To the extent Wells F argo Bank objects to the valuation, the Debtors request that a

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valuation hearing, pursuant to §506(a) of the Bankruptcy Code be conducted at the confirmation
hearing The allowed secured claim of Wells Fargo Bank, as set forth above, or as determined at
the §506(a) valuation hearing if required, shall be paid in full as follows:

Pursuant to the terms and conditions of this Plan, the Automatic Stay shall be lifted on
the collateral securing the 1107 E. Beach Note as of the Effective Date of the Plan. Wells Fargo
Bank shall liquidate the collateral and apply the proceeds against the claim. Wells Fargo shall be
entitled to one hundred and twenty (120) days from the date the Debtors surrender the Collateral
in which to amend their Proof of` Claim, or file a new Proof of Claim, asserting any deficiency
balance that may be owed. Any deficiency owed shall be paid pursuant to Class XlX General
Unsecured below.

1.16c.iii Upon information available to the Debtors, the Debtors’ Collateral
securing the 2503 E. Bessemer Note has a fair market value of fifty three thousand, seven
hundred dollars and no cents ($53,700.00) as a result the allowed claim of Wells Fargo Bank
shall be secured in the amount of fifty three thousand, seven hundred dollars and no cents
($53,700.00). The fair market value of the Wells Fargo Bank collateral is based on a market
value of fifty three thousand, seven hundred dollars and no cents ($53,700.00) for the real
property located at 2503 E. Bessemer Ave, Greensboro, NC. The Debtors do not intend to
bifurcate Wells Fargo Bank’s claim based on the 2503 E. Bessemer Note, nor do the Debtors
intend to “cram down” Wells Fargo’s claim pursuant to 11 U.S.C. § 1123(b)(5), other than in
respect to any arrearage claim that Wells Fargo may assert, as described below. To the extent
Wells Fargo Bank objects to the valuation, the Debtors request that a valuation hearing, pursuant
to §506(a) of the Bankruptcy Code be conducted at the confirmation hearing. The allowed
secured claim of Wells Fargo Banl<, as set forth above, or as determined at the §506(a) valuation
hearing if required, shall be paid in full as follows:

The Debtors shall pay Wells Fargo Bank pursuant to the terms and conditions of the 2503
E. Bessemer Note ln addition, Wells Fargo Bank shall file a proof of claim within sixty (60)
days following the Effective date of the Plan setting forth the arrearages owed under the 2503 E.
Bessemer Note, if any, at which time the Debtors shall have thirty (3 0) days in which to object to
said arrears claim. lf any arrearages are owed under the 2503 E. Bessemer Note, the same shall
be payable in sixty (60) monthly installments, with the first payment to begin the first (1St) full
month following the Effective Date of the Plan. lnterest shall accrue on the arrearages claim at a
fixed interest rate of three percent (3.0%). ln the event Wells Fargo Bank fails to file a proof of
claim for arrearages within sixty (60) days following the Effective Date of the Plan, Wells Fargo
Bank will be deemed to have waived any claim for arrearages, and payment of the same will be
disallowed pursuant to this Plan. All payments shall be due and payable on the fifteenth (15“‘) of
each month with the first (lst) payment due on the fifteenth (l Sth) of the first (1St) full month
following the Effective Date of the Plan.

1.16c.iv Upon information available to the Debtors, the Debtors’ Collateral
securing the 2604 Brim Note has a fair market value of eighty eight thousand, six hundred
dollars and no cents ($88,600.00) as a result the allowed claim of Wells Fargo Bank shall be
secured in full. The fair market value of the Wells Fargo Bank collateral is based on a market
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value of eighty eight thousand, six hundred dollars and no cents ($88,600.00) for the real
property located at 2604 Brim Road, Greensboro, NC. The Debtors do not intend to bifurcate
Wells Fargo Bank’s claim based on the 2604 Brim Note, nor do the Debtors intend to “cram
down” Wells Fargo’s claim pursuant to 11 U.S.C. § 1123(b)(5), other than in respect to any
arrearage claim that Wells Fargo Bank may assert, as described below. To the extent Wells
Fargo Bank objects to the valuation, the Debtors request that a valuation hearing, pursuant to
§506(a) of the Bankruptcy Code be conducted at the confirmation hearing T he allowed secured
claim of Wells F argo Bank, as set forth above, or as determined at the §506(a) valuation hearing
if required, shall be paid in full as follows:

The Debtors shall pay Wells Fargo Bank pursuant to the terms and conditions of the 2604
Brim Note. In addition, Wells Fargo Bank shall file a proof of claim within sixty (60) days
following the Effective date of the Plan setting forth the arrearages owed under the 2604 Brim
Note, if any, at which time the Debtors shall have thirty (3 0) days in which to object to said
arrears claim. If any arrearages are owed under the 2604 Brim Note, the same shall be payable in
sixty (60) monthly installments, with the nrst payment to begin the first (1‘“) full month
following the Effective Date of the Plan. lnterest shall accrue on the arrearages claim at a fixed
interest rate of three percent (3.0%). In the event Wells Fargo Bank fails to file a proof of claim
for arrearages within sixty (60) days following the Effective Date of the Plan, Wells F argo Bank
will be deemed to have waived any claim for arrearages, and payment of the same will be
disallowed pursuant to this Plan. All payments shall be due and payable on the fifteenth (15“1) of
each month with the Hrst (1“) payment due on the fifteenth (15"‘) of the first (lst) full month
following the Effective Date of the Plan.

1.16c.v Upon information available to the Debtors, the Debtors’ Collateral
securing the 2608 Brim Note has a fair market value of ninety four thousand, two hundred
dollars and no cents ($94,200.00') as a result the allowed claim of Wells Fargo Bank shall be
secured in full. The f`air market value of the Wells Fargo Bank collateral is based on a market
value of ninety four thousand, two hundred dollars and no cents ($94,200.00) for the real
property located at 2608 Brim Road, Greensboro, NC. The Debtors do not intend to bifurcate
Wells Fargo Bank’s claim based on the 2608 Brim Note, nor do the Debtors intend to “cram
down” Wells Fargo’s claim pursuant to ll U.S.C. § 1123 (b)(S), other than in respect to any
arrearage claim that Wells Fargo Bank may assert, as described below. To the extent Wells
Fargo Bank objects to the valuation, the Debtors request that a valuation hearing, pursuant to
§506(a) of the Bankruptcy Code be conducted at the confirmation hearing The allowed secured
claim of Wells Fargo Bank, as set forth above, or as determined at the §506(a) valuation hearing
if required, shall be paid in full as follows:

The Debtors shall pay Wells Fargo Bank pursuant to the terms and conditions of the 2608
Brim Note. In addition, Wells Fargo Bank shall file a proof of claim within sixty (60) days
following the Effective date of the Plan setting forth the arrearages owed under the 2608 Brim
Note, if any, at which time the Debtors shall have thirty (3 0) days in which to object to said
arrears claim. If any arrearages are owed under the 2608 Brim Note, the same shall be payable in
sixty (60) monthly installments, with the first payment to begin the first (lst) full month
following the Effective Date of the Plan. lnterest shall accrue on the arrearages claim at a fixed

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interest rate of three percent (3.0%). In the event Wells F argo Bank fails to file a proof of claim
for arrearages within sixty (60) days following the Effective Date of the Plan, Wells Fargo Bank
will be deemed to have waived any claim for arrearages, and payment of the same will be
disallowed pursuant to this Plan. All payments shall be due and payable on the fifteenth (15“‘) of
each month with the first (1“) payment due on the fifteenth (15“‘) of the first (lst) full month
following the Effective Date of the Plan.

1.16c.vi Upon information available to the Debtors, the Debtors’ Collateral
securing the 2612 Brim Note has a fair market value of one hundred two thousand, eight hundred
dollars and no cents (5102,800.00) as a result the allowed claim ofWells Fargo Bank shall be
secured in full. The fair market value of the Wells Fargo Bank collateral is based on a market
value of one hundred two thousand, eight hundred dollars and no cents ($102,_800.00) for the real
property located at 2612 Brim Road, Greensboro, NC. The Debtors do not intend to bifurcate
Wells Fargo Bank’s claim based on the 2612 Brim Note, nor do the Debtors intend to “cram
down” Wells Fargo’s claim pursuant to 11 U.S.C. § 1123(b)(5), other than in respect to any
arrearage claim that Wells Fargo Bank may assert, as described below. To the extent Wells
Fargo Bank objects to the valuation, the Debtors request that a valuation hearing, pursuant to
§506(a) of the Bankruptcy Code be conducted at the confirmation hearing The allowed secured
claim of Wells F argo Bank, as set forth above, or as determined at the §506(a) valuation hearing
if required, shall be paid in full as follows:

The Debtors shall pay Wells Fargo Bank pursuant to the terms and conditions of the 2612
Brim Note. fn addition, Wells Fargo Bank shall file a proof of claim within sixty (60) days
following the Effective date of the Plan setting forth the arrearages owed under the 2612 Brim
Note, if any, at which time the Debtors shall have thirty (3 0) days in which to object to said
arrears claim. If any arrearages are owed under the 2612 Brim Note, the same shall be payable in
sixty (60) monthly installments, with the first payment to begin the first (15‘) full month
following the Effective Date of the Plan. lnterest shall accrue on the arrearages claim at a fixed
interest rate of three percent (3.0%). In the event Wells F argo Bank fails to file a proof of claim
for arrearages within sixty (60) days following the Effective Date of the Plan, Wells Fargo Bank
will be deemed to have waived any claim for arrearages, and payment of the same will be
disallowed pursuant to this Plan. All payments shall be due and payable on the fifteenth (15th) of
each month with the first (lst) payment due on the fifteenth (15“‘) of the first (1St) full month
following the Effective Date of the Plan.

l.l6c.vii Upon information available to the Debtors, the Debtors’ Collateral
securing the 2616 Brim Note has a fair market value of eighty four thousand, nine hundred
dollars and no cents ($84,900.00) as a result the allowed claim of Wells Fargo Bank shall be
secured in full. The fair market value of the Wells F argo Bank collateral is based on a market
value of eighty four thousand, nine hundred dollars and no cents ($84,900.00) for the real
property located at 2616 Brim Road, Greensboro, NC. The Debtors do not intend to bifurcate
Wells Fargo Bank’s claim based on the 2616 Brim Note, nor do the Debtors intend to “cram
down” Wells Fargo’s claim pursuant to 11 U.S.C. § 1123(b)(5), other than in respect to any
arrearage claim that Wells F argo Bank may asseit, as described below. To the extent Wells
Fargo Bank objects to the valuation, the Debtors request that a valuation hearing, pursuant to

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§506(a) of the Bankruptcy Code be conducted at the confirmation hearing The allowed secured
claim of Wells Fargo Bank, as set forth above, or as determined at the §506(a) valuation hearing
if required, shall be paid in full as follows:

The Debtors shall pay Wells Fargo Bank pursuant to the terms and conditions of the 2616
Brim Note. ln addition, Wells Fargo Bank shall file a proof of claim within sixty (60) days
following the Effective date of the Plan setting forth the arrearages owed under the 2616 Brim
Note, if any, at which time the Debtors shall have thirty (3 0) days in which to object to said
arrears claim. lf any arrearages are owed under the 2616 Brim Note, the same shall be payable in
sixty (60) monthly installments, with the first payment to begin the first (1St) full month
following the Effective Date of the Plan. lnterest shall accrue on the arrearages claim at a fixed
interest rate of three percent (3.0%). ln the event Wells Fargo Bank fails to file a proof of claim
for arrearages within sixty (60) days following the Effective Date of the Plan, Wells Fargo Bank
will be deemed to have waived any claim for arrearages, and payment of the same will be
disallowed pursuant to this Plan. All payments shall be due and payable on the fifieenth (15‘11) of
each month with the first (1“) payment due on the fifteenth (15“‘) of the first (1St) full month
following the Effective Date of the Plan.

l.l6c.viii Upon information available to the Debtors, the Debtors’ Collateral
securing the 3724 Central Note has a fair market value of seventy thousand, three hundred
dollars and no cents ($70,3 00.00) as a result the allowed claim of Wells Fargo Bank shall be
secured in full. The fair market value of the Wells Fargo Bank collateral is based on a market
value of seventy thousand, three hundred dollars and no cents ($70,300.00) for the real property
located at 3724 Central Avenue, Greensboro, NC. The Debtors do not intend to bifurcate Wells
Fargo Bank’s claim based on the 3724 Central Note, nor do the Debtors intend to “cram down”
Wells Fargo’s claim pursuant to 11 U.S.C. § 1123 (b)($), other than in respect to any arrearage
claim that Wells Fargo Bank may assert, as described below. To the extent Wells Fargo Bank
objects to the valuation, the Debtors request that a valuation hearing, pursuant to §506(a) of the
Bankruptcy Code be conducted at the confirmation hearing. The allowed secured claim of Wells
Fargo Bank, as set forth above, or as determined at the §506(a) valuation hearing if required,
shall be paid in full as follows:

The Debtors shall pay Wells Fargo Bank pursuant to the terms and conditions of the 3724
Central Note. ln addition, Wells Fargo Bank shall file a proof of claim within sixty (60) days
following the Effective date of the Plan setting forth the arrearages owed under the 3724 Central
Note, if any, at which time the Debtors shall have thirty (3 0) days in which to object to said
arrears claim. If any arrearages are owed under the 3724 Central Note, the same shall be payable
in sixty (60) monthly installments, with the first payment to begin the first (1`“) full month
following the Effective Date of the Plan. lnterest shall accrue on the arrearages claim at a fixed
interest rate of two and eight hundred seventy five one thousandths percent (2.875%). ln the
event Wells Fa_rgo Bank fails to file a proof of claim for arrearages within sixty (60) days
following the Effective Date of the Plan, Wells Fargo Bank will be deemed to have waived any
claim for arrearages, and payment of the same will be disallowed pursuant to this Plan. All
payments shall be due and payable on the fifteenth (15“‘) of each month with the first (1“)
payment due on the fifteenth (15th) of the first (lst) full month following the Effective Date of the

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Plan.

1.16c.ix Upon information available to the Debtors, the Debtors’ Collateral
securing the 3816 A Central Note has a fair market value of seventy one thousand, two hundred
dollars and no cents ($71,200.00) as a result the allowed claim of Wells Fargo Bank shall be
secured in full. The fair market value of the Wells Fargo Bank collateral is based on a market
value of seventy one thousand, two hundred dollars and no cents ($'71,200.00) for the real
property located at 3816 A Central Avenue, Greensboro, NC. . To the extent Wells Fargo Bank
objects to the valuation, the Debtors request that a valuation hearing, pursuant to §506(a) of the
Bankruptcy Code be conducted at the confirmation hearing The allowed secured claim of Wells
Fargo Bank, as set forth above, or as determined at the §506(a) valuation hearing if required,
shall be paid in full as follows:

The Debtors shall execute a new Note to Wells Fargo Bank pursuant to the terms and
conditions of this Plan. The balance due under the 3816 A Central Note shall be paid monthly,
and amortized over a three hundred and sixty (360) month period. lnterest shall accrue at the
current Till interest rate, which is anticipated at five and one quarter percent (5.25%). Payments
shall be made in equal monthly installments All payments shall be due and payable on the
fifteenth (l 5111) of each month with the first (lst) payment due on the fifteenth (15“’) of the Hrst
(lst) full month following the Effective Date of the Plan.

1.16c.x Upon information available to the Debtors, the Debtors’ Collateral
securing the 3816 Central Note has a fair market value of thirty eight thousand, six hundred
dollars and no cents ($38,600.00) as a result the allowed claim of Wells lE"argo Bank shall be
secured in the amount of thirty eight thousand, six hundred dollars and no cents ($38,600.00).
The fair market value of the Wells Fargo Bank collateral is based on a market value of thirty
eight thousand, six hundred dollars and no cents ($38,600.00) for the real property located at
3816 Central Avenue, Greensboro, NC. The Debtors do not intend to bifurcate Wells Fargo
Bank’s claim based on the 3816 Central Note, nor do the Debtors intend to “cram down” Wells
Fargo’s claim pursuant to ll U.S.C. § 1123(b)(5), other than in respect to any arrearage claim
that Wells Fargo Bank may assert, as described below. To the extent Wells Fargo Bank objects
to the valuation, the Debtors request that a valuation hearing, pursuant to §506(a) of the
Bankruptcy Code be conducted at the confirmation hearing The allowed secured claim of Wells
Fargo Bank, as set forth above, or as determined at the §506(a) valuation hearing if required,
shall be paid in full as follows:

The Debtors shall pay Wells Fargo Bank pursuant to the terms and conditions of the 3816
Central Note. ln addition, Wells Fargo Bank shall file a proof of claim within sixty (60) days
following the Effective date of the Plan setting forth the arrearages owed under the 3816 Central
Note, if any, at which time the Debtors shall have thirty (3 0) days in which to object to said
arrears claim. if any arrearages are owed under the 3816 Central Note, the same shall be payable
in sixty (60) monthly installments, with the first payment to begin the first (1St) full month
following the Effective Date of the Plan. lnterest shall accrue on the arrearages claim at a fixed
interest rate of three percent (3.0%). In the event Wells Fargo Bank fails to file a proof of claim
for arrearages within sixty (60) days following the Effective Date of the Plan, Wells Fargo Bank

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will be deemed to have waived any claim for arrearages, and payment of the same will be
disallowed pursuant to this Plan. All payments shall be due and payable on the fifteenth (156'1) of
each month with the first (1St) payment due on the fifteenth (151]1) of the first (1`“) filll month
following the Effective Date of the Plan.

l.l 6c.xi Upon information available to the Debtors, the Debtors’ Collateral
securing the 700 Cole Note has a fair market value of sixty one thousand, two hundred dollars
and no cents ($61,200.00) as a result the allowed claim of Wells Fargo Bank shall be secured in
full. The fair market value of the Wells Fargo Bank collateral is based on a market value of sixty
one thousand, two hundred dollars and no cents ($61,200.00) for the real property located at 700
Cole Street, Greensboro, NC. The Debtors do not intend to bifurcate Wells Fargo Bank’s claim
based on the 700 Cole Note, nor do the Debtors intend to “cram down” Wells Fargo’s claim
pursuant to 11 U.S.C. § 1123(b)(5), other than in respect to any arrearage claim that Wells Fargo
Bank may assert, as described below. To the extent Wells Fargo Bank objects to the valuation,
the Debtors request that a valuation hearing, pursuant to §506(a) of the Bankruptcy Code be
conducted at the confirmation hearingl The allowed secured claim of Wells Fargo Bank, as set
forth above, or as determined at the §506(a) valuation hearing if required, shall be paid in full as
follows:

The Debtors shall pay Wells Fargo Bank pursuant to the terms and conditions of the 700
Cole Note. In addition, Wells Fargo Bank shall file a proof of claim within sixty (60) days
following the Effective date of the Plan setting forth the arrearages owed under the 700 Cole
Note, if any, at which time the Debtors shall have thirty (30) days in which to object to said
arrears claim. If any arrearages are owed under the 700 Cole Note, the same shall be payable in
sixty (60) monthly installments, with the first payment to begin the first (1St) full month
following the Effective Date of the Plan. lnterest shall accrue on the arrearages claim at a fixed
interest rate of three percent (3.0%). in the event Wells Fargo Bank fails to file a proof of claim
for arrearages within sixty (60) days following the Effective Date of the Plan, Wells F argo Bank
will be deemed to have waived any claim for arrearages, and payment of the same will be
disallowed pursuant to this Plan All payments shall be due and payable on the Hfteenth (15th) of
each month with the first (1“) payment due on the fifteenth (lSth) of the first (lst) full month
following the Effective Date of the Plan.

1.16c.xii Upon information available to the Debtors, the Debtors’ Collateral
securing the 543 Denny Note has a fair market value of forty eight thousand, two hundred dollars
and no cents ($48,200.00) as a result the allowed claim ofWells F argo Bank shall be secured in
the amount of forty eight thousand, two hundred dollars and no cents ($48,200.00). The
remaining amount of Wells Fargo’s Allowed Claim, or fourteen thousand, seven hundred thirty
seven dollars and fifty four cents (814,737.54) will be deemed unsecured The fair market value
ofthe Wells Fargo Bank collateral is based on a market value of forty eight thousand, two
hundred dollars and no cents ($48,200.00)` for the real property located at 543 Denny Road,
Greensboro, NC. To the extent Wells Fargo Bank objects to the valuation, the Debtors request
that a valuation hearing, pursuant to §506'(a) of the Bankruptcy Code be conducted at the
confirmation hearing The allowed secured claim of Wells Fargo Bank, as set forth above, or as
determined at the §506(a) valuation hearing if required, shall be paid in full as follows:

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The Debtors shall execute a new Note to Wells Fargo Bank pursuant to the terms and
conditions of this Plan. The secured claim under the 543 Denny Note shall be paid monthly, and
amortized over a three hundred and sixty (3 60) month period. lnterest shall accrue at the current
Till interest rate, which is anticipated at five and one quarter percent (5.25%). Payments shall be
made in equal monthly installments All payments shall be due and payable on the fifteenth
(15“1) of each month with the first (1`“) payment due on the fifteenth (15th) of the first (1St) full
month following the Effective Date of the Plan. Wells Fargo shall have a Class XIX General
Unsecured Creditors claim in the amount of fourteen thousand, seven hundred thirty seven
dollars and fifty four cents ($14,737.54), such amount representing the unsecured portion of
Wells Fargo’s claim The Wells Fargo claim will be bifurcated and “crammed down” pursuant to
11 U.S.C. § 1123(b)(5).

1.16c.xiii Upon information available to the Debtors, the Debtors’ Collateral
securing the 3939 A Eastland Note has a fair market value of eighty six thousand, nine hundred
dollars and no cents ($86,900.00) as a result the allowed claim of Wells Fargo Bank shall be
secured in full. The fair market value of the Wells Fargo Bank collateral is based on a market
value of eighty six thousand, nine hundred dollars and no cents ($86,900.00) for the real property
located at 3939-A Eastland Avenue, Greensboro, NC. To the extent Wells Fargo Bank objects to
the valuation, the Debtors request that a valuation hearing, pursuant to §506(a) of the Bankruptcy
Code be conducted at the confirmation hearing The allowed secured claim of Wells Fargo
Bank, as set forth above, or as determined at the §506(a) valuation hearing if required, shall be
paid in full as follows:

The Debtors shall execute a new Note to Wells Fargo Bank pursuant to the terms and
conditions of this Plan. The balance due under the 3939 A Eastland Note shall be paid monthly,
and amortized over a three hundred and sixty (360) month period lnterest shall accrue at the
current Till interest rate, which is anticipated at five and one quarter percent (5 .25%). Payments
shall be made in equal monthly installments All payments shall be due and payable on the
fifteenth (15th) of each month with the first (1“) payment due on the fifteenth (15th) of the first
(1St) full month following the Effective Date of the P`lan.

1.16c.xiv Upon information available to the Debtors, the Debtors property located at
3943 Eastland Avenue, Greensboro, NC does not secure the debt obligation in the 3943 Eastland
Note. As a result the claim of Wells Fargo Bank shall be unsecured in full. The claim of Wells
Fargo Bank shall be treated in accordance with Class XlX - General Unsecured. lf it is
determined that the property located at 3943 Eastland Avenue, Greensboro, NC does secure the
debt obligation in the 3943 Eastland Note, the indebtedness shall be satisfied as follows:

The Debtors shall surrender the Collateral securing the 3943 Eastland Note to Wells
_F argo Bank within the latter of thirty (30) days from the confirmation of the Plan or thirty (30)
days nom the determination that the property located at 3943 Eastland Ave secures the debt
obligation of the 3943 Eastland Note. Wells Fargo Bank shall liquidate the Collateral securing
the 3943 Eastland Note, and all proceeds shall be used to pay down the indebtedness due under
the Note. Wells Fargo Bank shall have one hundred and twenty (120) days from the date the
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Debtors surrender the Collateral securing the 3943 Eastland Note in which to file a Proof of
Claim asserting a deficiency, if one exists, or to amend their previous Claim. Any deficiency
owed shall be paid pursuant to Class XIX General Unsecured below,

1.16c.xv Upon information available to the Debtors, the Debtors’ Collateral
securing the 3527 Fiesta Note has a fair market value of seventy six thousand, seven hundred
dollars and no cents ($76,700.00) as a result the allowed claim of Wells Fargo Bank shall be
secured in full. The fair market value of the Wells Fargo Bank collateral is based on a market
value of seventy six thousand, seven hundred dollars and no cents ($76,700.00) for the real
property located at 3724 Fiesta Drive, Greensboro, NC. The Debtors do not intend to bifurcate
Wells Fargo Bank’s claim based on the 3527 Fiesta Note, nor do the Debtors intend to “cram
down” Wells Fargo’s claim pursuant to 11 U.S.C. § 1123(b)(5), other than in respect to any
arrearage claim that Wells Fargo Bank may assert, as described below. To the extent Wells
Fargo Bank objects to the valuation, the Debtors request that a valuation hearing, pursuant to
§506(a)'of the Bankruptcy Code be conducted at the confirmation hearing The allowed secured
claim of Wells Fargo Bank, as set forth above, or as determined at the §506(a) valuation hearing
if required, shall be paid in full as follows:

The Debtors shall pay Wells Fargo Bank pursuant to the terms and conditions of the 3527
Fiesta Note. ln addition, Wells Fargo Bank shall file a proof of claim within sixty (60) days
following the Effective date of the Plan setting forth the arrearages owed under the 3527 Fiesta
Note, if any, at which time the Debtors shall have thirty (3 0) days in which to object to said
arrears claim lf any arrearages are owed under the 3527 Fiesta Note, the same shall be payable
in sixty (60) monthly installments, with the first payment to begin the first (lst) full month
following the Effective Date of the Plan. lnterest shall accrue on the arrearages claim at a fixed
interest rate of three percent (3.0%). ln the event Wells Fargo Bank fails to file a proof of claim
for arrearages within sixty (60) days following the Effective Date of the Plan, Wells Fargo Bank
will be deemed to have waived any claim for arrearages, and payment of the same will be
disallowed pursuant to this Plan All payments shall be due and payable on the fifteenth (l5th) of
each month with the first (lst) payment due on the fifteenth (15“1) of the first (lst) full month
following the Effective Date of the Plan.

1.16c.xvi Upon information available to the Debtors, the Debtors’ Collateral
securing the 2217 Florida Note has a fair market value of seventy seven thousand, seven hundred
dollars and no cents ($77,700.00) as a result the allowed claim of Wells Fargo Bank shall be
secured in full. The fair market value of the Wells Fargo Bank collateral is based on a market
value of seventy seven thousand, seven hundred dollars and no cents ($77,700.00) for the real
property located at 2217 West florida Street, Greensboro, NC. The Debtors do not intend to
bifurcate Wells Fargo Bank’s claim based on the 2217 Florida Note, nor do the Debtors intend to
“cram down” Wells Fargo’s claim pursuant to 11 U.S.C. § 1123(b)(5), other than in respect to
any arrearage claim that Wells Fargo Bank may assert, as described below. To the extent Wells
Fargo Bank objects to- the valuation, the Debtors request that a valuation hearing, pursuant to
§506(a) of the Bankruptcy Code be conducted at the confirmation hearing The allowed secured
claim of Wells F argo Bank, as set forth above, or as determined at the §506(a) valuation hearing
if required, shall be paid in full as follows:

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The Debtors shall pay Wells Fargo Bank pursuant to the terms and conditions of the 2217
Florida Note. in addition, Wells Fargo Bank shall file a proof of claim within sixty (60) days
following the Effective date of the Plan setting forth the arrearages owed under the 2217 Florida
Note, if any, at which time the Debtors shall have thirty (30) days in which to object to said
arrears claim. If any arrearages are owed under the 2217 Florida Note, the same shall be payable
in sixty (60) monthly installments, with the first payment to begin the first (1St) full month
following the Effective Date of the Plan. interest shall accrue on the arrearages claim at a fixed
interest rate of three percent (3.0%). ln the event Wells Fargo Bank fails to file a proof of claim
for arrearages within sixty (60) days following the Effective Date of the Plan, Wells Fargo Bank
will be deemed to have waived any claim for arrearages, and payment of the same will be
disallowed pursuant to this Plan All payments shall be due and payable on the fifteenth (15th) of
each month with the first (1St) payment due on the fifteenth (l Sth) of the first (1‘“) full month
following the Effective Date of the Plan.

l.l6c.xvii Upon information available to the Debtors, the Debtors’ Collateral
securing the 3703 Friendly Acres Note has a fair market value of three hundred twenty three
thousand, three hundred dollars and no cents ($323.,300.00). The Debtors’ Collateral securing the
3703 Friendly Acres Note is the Debtors’ primary residence, and as a result the allowed claim of
Wells Fargo Bank shall be secured in full. The fair market value of the Wells Fargo Bank
collateral is based on a market value of three hundred twenty three thousand, three hundred
dollars and no cents (8323,3 00.00) for the real property located at 3703 Friendly Acres Drive,
Greensboro, NC. The Debtors do not intend to bifurcate Wells Fargo Bank’s claim based on the
3703 Friendly Acres Note, nor do the Debtors intend to “cram down” Wells Fargo’s claim
pursuant to 11 U.S.C. § 1123(b)(5), other than in respect to any arrearage claim that Wells Fargo
Bank may assert, as described below. To the extent Wells Fargo Bank objects to the valuation,
the Debtors request that a valuation hearing, pursuant to §506(a) of the Bankruptcy Code be
conducted at the confirmation hearing The allowed secured claim of Wells Fargo Bank, as set
forth above, or as determined at the §506(a) valuation hearing if required, shall be paid in full as
follows:

The Debtors shall pay Wells Fargo Bank pursuant to the terms and conditions of the 3703
Friendly Acres Note. ln addition, Wells Fargo Bank shall file a proof of claim within sixty (60)
days following the Effective date of the Plan setting forth the arrearages owed under the 3703
Friendly Acres Note, if any, at which time the Debtors shall have thirty .(3 0) days in which to
object to said arrears claim. lf any arrearages are owed under the 3703 Friendly Acres Note, the
same shall be payable in sixty (60) monthly instal.lments, with the first payment to begin the first
(1“) full month following the Effective Date of the Plan. lnterest shall accrue on the arrearages
claim at a fixed interest rate of three percent (3 .0%). In the event Wells Fargo Bank fails to file a
proof of claim for arrearages within sixty (60) days following the Effective Date of the Plan,
Wells Fargo Bank will be deemed to have waived any claim for arrearages, and payment of the
same will be disallowed pursuant to this Plan All payments shall be due and payable on the
fifteenth (lSth) of each month with the first (1“) payment due on the fifteenth (15“‘) of the first
(1`“) full month following the Effective Date of the Plan.

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1.16c.xviii Upon information available to the Debtors, the Debtors’ Collateral
securing the 1809 Gatewood Note has a fair market value of sixty two thousand, three hundred
dollars and no cents ($62,300.00) as a result the allowed claim of Wells Fargo Bank shall be
secured in the amount of sixty two thousand, three hundred dollars and no cents ($ 62,300.00).
The fair market value of the Wells Fargo Bank collateral is based on a market value of sixty two
thousand, three hundred dollars and no cents ($62,300.00) for the real property located at 1809
Gatewood Avenue, Greensboro, NC. To the extent Wells Fargo Bank objects to the valuation,
the Debtors request that a valuation hearing,' pursuant to §506(a) of the Bankruptcy Code be
conducted at the confirmation hearingl The allowed secured claim of Wells Fargo Bank, as set
forth above, or as determined at the §506(a) valuation hearing if required, shall be paid in full as
follows:

The Debtors shall execute a new Note to Wells Fargo Bank pursuant to the terms and
conditions of this Plan. The secured claim under the 1809 Gatewood Note shall be paid monthly,
and amortized over a three hundred and sixty (360) month period. lnterest shall accrue at the
current Till interest rate, which is anticipated at five and one quarter percent (5.25%). Payments
shall be made in equal monthly installments All payments shall be due and payable on the
fifteenth (15“1) er eeeh month thh the first (r“) payment due en the fifteenth (15“1) day er the
first (1St) full month following the effective date of the Plan. Wells Fargo shall have a Class XIX
General Unsecured Creditors claim in the amount often thousand, five hundred eithty two
dollars and thirty nine cents ($10,582.39), such amount representing the unsecured portion of
Wells Fargo’s claim. The Wells Fargo claim will be bifurcated and “crammed down” pursuant to
11 U.S.C. § 1123(1))(5).

1.16c.xix Upon information available to the Debtors, the Debtors’ Collateral
securing 1705 Gordon Note has a fair market value of ninety two thousand, one hundred dollars
and no cents ($92,100.00) as a result the allowed claim of Wells Fargo Bank shall be secured in
full. The fair market value of the Wells Fargo Bank collateral is based on a market value of
ninety two thousand, one hundred dollars and no cents ($92,100.00) for the real property located
at 1705 Gordon Street, Greensboro, NC. The Debtors do not intend to bifurcate Wells Fargo
Bank’s claim based on the 1705 Gordon Note, nor do the Debtors intend to “cram down” Wells
Fargo’s claim pursuant to 11 U.S.C. § 1123(b)(5), other than in respect to any arrearage claim
that Wells Fargo Bank may assert, as described below. To the extent Wells Fargo Bank objects
to the valuation, the Debtors request that a valuation hearing, pursuant to §506(a) of the
Bankruptcy Code be conducted at the confirmation hearing The allowed secured claim of Wells
Fargo Bank, as set forth above, or as determined at the §506(a) valuation hearing if required,
shall be paid in full as follows:

The Debtors shall pay Wells Fargo Bank pursuant to the terms and conditions of the 1705
Gordcn Note. In addition, Wells Fargo Bank shall file a proof of claim within sixty (60) days
following the Effective date of the Plan setting forth the arrearages owed under the 1705 Gordon
Note, if any, at which time the Debtors shall have thirty (3 0) days in which to object to said
arrears claim. ff any arrearages are owed under the 1705 Gordon Note, the same shall be payable
in sixty (60) monthly installments, with the first payment to begin the first (1“) full month
following the Effective Date of the Plan. lnterest shall accrue on the arrearages claim at a fixed

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interest rate of seven and six tenths percent (7.6%). ln the event Wells Fargo Bank fails to file a
proof of claim for arrearages within sixty (60) days following the Effective Date of the Plan,
Wells Fargo Bank will be deemed to have waived any claim for arrearages, and payment of the
same will be disallowed pursuant to this Plan All payments shall be due and payable on the
fifteenth (15th) of each month with the first (lst) payment due on the fifteenth (15th) day of the
first (1St) full month following the Effective Date of the Plan.

1.16c.xx Upon information available to the Debtors, the Debtors’ Collateral
securing the 1301 Hickory Note has a fair market value of forty four thousand dollars and no
cents ($44,000.00) as a result the allowed claim of Wells Fargo Bank shall be secured in full.
The fair market value of the Wells Fargo Bank collateral is based on a market value of forty four
thousand dollars and no cents ($44,000.00) for the real property located at 1301 Hickory Street,_
Greensboro, NC. To the extent Wells Fargo Bank objects to the valuation, the Debtors request
that a valuation hearing, pursuant to §506(a) of the Bankruptcy Code be conducted at the
confirmation hearing The allowed secured claim of Wells Fargo Bank, as set forth above, or as
determined at the §506(a) valuation hearing if required, shall be paid in full as follows:

Pursuant to the terms and conditions of this Plan, the Automatic Stay shall be lifted on
the collateral securing the 1301 Hickory Note as of the Effective Date of the Plan. Wells Fargo
Bank shall liquidate the collateral and apply the proceeds against the claim. Wells Fargo shall be
entitled to one hundred and twenty days (120) from the date the Debtors surrender the Collateral
in which to amend their Proof of Claim, or file a new Proof cf Claim, asserting any deficiency
balance that may be owed. Any deficiency owed shall be paid pursuant to Class XIX General
Unsecured below.

1.16c.xxi Upon information available to the Debtors, the Debtors’ Collateral
securing the 1208 i~luffrne Note has a fair market value of eighty thousand, six hundred dollars
and no cents ($80,600.00) as a result the allowed claim of Wells Fargo Bank shall be secured in
the amount of eighty thousand, six hundred dollars and no cents ($80,600.00). The fair market
value of the Wells Fargo Bank collateral is based on a market value of eighty thousand, six
hundred dollars and no cents ($80,600.00) for the real property located at 1208 Huffrne Mill
Road, Greensboro, NC. To the extent Wells Fargo Bank objects to the valuation, the Debtors
request that a valuation hearing, pursuant to §506(a) of the Bankruptcy Code be conducted at the
continuation hearing The allowed secured claim of Wells Fargo Bank, as set forth above, or as
determined at the §506(a) valuation hearing if required, shall be paid in full as follows:

Pursuant to the terms and conditions of this Plan, the Automatic Stay shall be lifted on
the collateral securing the 1208 Huffine Note as of the Effective Date of the Plan. Wells Fargo
Bank shall liquidate the Collateral securing the 1208 Huffine Note, and all proceeds shall be used
to pay down the indebtedness due under the Note. Wells Fargo Bank shall have one hundred and
twenty (120) days fi'om the date the Debtors surrender the Collateral securing the 1208 Huffine
Note in which to file a Proof of Claim asserting a deficiency, if one exists, or to amend their
previous Claim. Any deficiency owed shall be paid pursuant to Class XIX General Unsecured
below.

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1.16c.xxii Upon information available to the Debtors, the Debtors’ Collateral
securing the 1400 Kingston Note has a fair market value of thirty thousand, nine hundred dollars
and no cents ($30,900.00) as a result the allowed claim of Wells Fargo Bank shall be secured in
the amount of thirty thousand, nine hundred dollars and no cents ($30,900.00). The fair market
value of the Wells F argo Bank collateral is based on a market value of thirty thousand, nine
hundred dollars and no cents ($30,900.00) for the real property located at 1400 Kingston Road,
Greensboro, NC. The Debtors do not intend to bifurcate Wells Fargo Bank’s claim based on the
1400 Kingston Note, nor do the Debtors intend to “cram down” Wells Fargo’s claim pursuant to
11 U.S.C. § 1123 (b)(5), other than in respect to any arrearage claim that Wells Fargo Bank may
assert, as described below. To the extent Wells Fargo Bank objects to the valuation, the Debtors
request that a valuation hearing, pursuant to §506(a) of the Bankruptcy Code be conducted at the
confirmation hearing. The allowed secured claim of Wells Fargo Bank, as set forth above, or as
determined at the §506(a) valuation hearing if required, shall be paid in full as follows:

The Debtors shall pay Wells F argo Bank pursuant to the terms and conditions of the 1400
Kingston Note. in addition, Wells Fargo Bank shall file a proof of claim within sixty (60) days
following the Effective date of the Plan setting forth the arrearages owed under the 1400
Kingston Note, if any, at which time the Debtors shall have thirty (3 0) days in which to object to
said arrears claim. if any arrearages are owed under the 1400 Kingston Note, the same shall be
payable in sixty (60) monthly installments, with the first payment to begin the first (1“) full
month following the Effective Date of the Plan. interest shall accrue on the arrearages claim at a
fixed interest rate of three percent (3.0%). fn the event Wells Fargo Bank fails to file a proof of
claim for arrearages within sixty (60) days following the Effective Date of the Plan, Wells Fargo
Bank will be deemed to have waived any claim for arrearages, and payment of the same will be
disallowed pursuant to this Plan All payments shall be due and payable on the fifteenth (15th) of
each month with the first (1“) payment due on the fifteenth (15th) day of the first (lst) full month
following the Effective Date of the Plan.

1.160.xxiii Upon information available to the Debtors, the Debtors’ Collateral
securing the 3618 Martin Note has a fair market value of thirty five thousand, five hundred
dollars and no cents ($35,500.00) as a result the allowed claim of Wells Fargo Bank shall be
secured in the amount of thirty five thousand, five hundred dollars and no cents ($35,500.00).
The fair market value of the Wells Fargo Bank collateral is based on a market value of thirty five
thousand, five hundred dollars and no cents ($35,500.00) for the real property located at 3618
Martin Avenue, Greensboro, NC. The Debtors do not intend to bifurcate Wells Fargo Bank’s
claim based on the 3618 Martin Note, nor do the Debtors intend to “crarn down” Wells Fargo’s
claim pursuant to 11 U.S.C.. § 1123 (b)(S), other than in respect to any arrearage claim that Wells
Fargo Bank may assert, as described below. To the extent Wells Fargo Bank objects to the
valuation, the Debtors request that a valuation hearing, pursuant to §506(a) of the Bankruptcy
Code be conducted at the confirmation hearing The allowed secured claim of Wells Fargo
Bank, as set forth above, or as determined at the §506(a) valuation hearing if required, shall be
paid in full as follows:

The Debtors shall pay Wells Fargo Bank pursuant to the terms and conditions of the 3618
Martin Note. In addition, Wells Fargo Bank shall file a proof of claim within sixty (60) days

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following the Effective date of the Plan setting forth the arrearages owed under the 3618 Martin
Note, if any, at which time the Debtors shall have thirty (3 0) days in which to object to said
arrears claim. If any arrearages are owed under the 3618 Martin Note, the same shall be payable
in sixty (60) monthly installments, with the first payment to begin the first (1St) full month
following the Effective Date of the Plan. lnterest shall accrue on the arrearages claim at a fixed
interest rate of three percent (3 .0%). in the event Wells Fargo Bank fails to file a proof of claim
for arrearages within sixty (60) days following the Effective Date of the Plan, Wells Fargo Bank
will be deemed to have waived any claim for arrearages, and payment of the same will be
disallowed pursuant to this Plan All payments shall be due and payable on the fifteenth (15th) of
each month with the first (1st) payment due on the Hfteenth (15““) day of the first (1“) full month
following the Effective Date of the Plan.

1.16c.xxiv Upon information available to the Debtors, the Debtors’ Collateral
securing the 3620 Martin Note has a fair market value of eighty three thousand, one hundred
dollars and no cents ($83,100.00) as a result the allowed claim of Wells Fargo Bank shall be
secured in the amount of eighty three thousand, one hundred dollars and no cents ($83,100.00).
The fair market value of the Wells Fargo Bank collateral is based on a market value of eighty
three thousand, one hundred dollars and no cents ($83,100.00) for the real property located at
3620 Martin Avenue, Greensboro, NC. To the extent Wells Fargo Bank objects to the valuation,
the Debtors request that a valuation hearing, pursuant to §506(a) of the Bankruptcy Code be
conducted at the confirmation hearing The allowed secured claim of Wells Fargo Bank, as set
forth above, or as determined at the §506(a) valuation hearing if required, shall be paid in full as
follows:

The Debtors shall execute a new Note to Wells Fargo Bank pursuant to the terms and
conditions of this Plan. T he secured claim under the 3620 Martin Note shall be paid monthly,
and amortized over a three hundred and sixty (360) month period. lnterest shall accrue at the
currentle interest rate, which is anticipated at five and one quarter percent (5.25%). Payments
shall be made in equal monthly installmentsl All payments shall be due and payable on the
fifteenth (15111) of each month with the first (1St) payment due on the fifteenth (15th) day of the
first (1“) full month following the Effective Date of the Plan. Wells Fargo shall have a Class XIX
General Unsecured Creditors claim in the amount of twelve thousand, two hundred ninety dollars
and forty two cents (312,290.42), such amount representing the unsecured portion of Wells
Fargo’s claim. ’l`he Wells Fargo claim will be bifurcated and “crammed down” pursuant to 11
U.S.C. § 1123(b)(5).

1.16c.xxv Upon information available to the Debtors, the Debtors’ Collateral
securing the 2023 Pine Bluff Note has a fair market value of eighty eight thousand, five hundred
dollars and no cents ($88,500.00) as a result the allowed claim of Wells Fargo Bank shall be
secured in full. The fair market value of the Wells Fargo Bank collateral is based on a market
value of eighty eight thousand, five hundred dollars and no cents ($88,500.00) for the real
property located at 2023 Pine Bluff Street, Greensboro, NC. The Debtors do not intend to
bifurcate Wells Fargo Bank’s claim based on the 2023 Pine Bluff Note, nor do the Debtors
intend to “cram down” Wells Fargo’s claim pursuant to 11 U.S.C. § 1123(b)(5), other than in
respect to any arrearage claim that Wells Fargo Bank may assert, as described below. To the

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extent Wells Fargo Bank objects to the valuation, the Debtors request that a valuation hearing,
pursuant to §506(a) of the Bankruptcy Code be conducted at the confirmation hearing The
allowed secured claim of Wells Fargo Bank, as set forth above, or as determined at the §506(a)
valuation hearing if required, shall be paid in full as follows:

The Debtors shall pay Wells F argo Bank pursuant to the terms and conditions of the 2023
Pine BluffNote. ln addition, Wells Fargo Bank shall file a proof of claim within sixty (_60) days
following the Effective date of the Plan setting forth the arrearages owed under the 2023 Pine
Bluffi\lote, if any, at which time the Debtors shall have thirty (30) days in which to object to said
arrears claim. lf any arrearages are owed under the 2023 Pine Bluff` Note, the same shall be
payable in sixty (60) monthly installments, with the first payment to begin the Hrst (1St) full
month following the Effective Date of the Plan. lnterest shall accrue on the arrearages claim at a
fixed interest rate of seven and three tenths percent (7.3%). In the event Wells Fargo Bank fails
to file a proof of claim for arrearages within sixty (60) days following the Effective Date of the
Plan, Wells Fargo Bank will be deemed to have waived any claim for arrearages, and payment of
the same will be disallowed pursuant to this Plan All payments shall be due and ayable on the
fifteenth (15“1) of each month with the first (1“) payment due on the fifteenth (15") day of the
first (1St) full month following the Effective Date of the Plan.

1.16c.xxvi Upon information available to the Debtors, the Debtors’ Collateral
securing the 1712 Ryan Note has a fair market value of eighty seven thousand dollars and no
cents ($87,000.00) as a result the allowed claim of Wells F argo Bank shall be secured in full.
The fair market value of the Wells Fargo Bank collateral is based on a market value of eighty
seven thousand dollars and no cents ($87,000.00) for the real property located at 1712 Ryan
Street, Greensboro, NC. T he Debtors do not intend to bifurcate Wells F argo Bank’s claim based
on the 1712 Ryan Note, nor do the Debtors intend to “cram down” Wells Fargo’s claim pursuant
to 11 U.S.C. § 1123(b)(5), other than in respect to any arrearage claim that Wells Fargo Bank
may assert, as described below. To the extent Wells Fargo Bank objects to the valuation, the
Debtors request that a valuation hearing, pursuant .to §506(a) of the Bankruptcy Code be
conducted at the connrmation hearing The allowed secured claim ofWells Fargo Bank, as set
forth above, or as determined at the §506(a) valuation hearing if required, shall be paid in full as
follows:

The Debtors shall pay Wells Fargo Bank pursuant to the terms and conditions of the 1712
Ryan Note. fn addition, Wells F argo Bank shall file a proof of claim within sixty (60) days
following the Effective date of the Plan setting forth the arrearages owed under the 1712 Ryan
Note, if any, at which time the Debtors shall have thirty (3 0) days in which to object to said
arrears claim. if any arrearages are owed under the 1712 Ryan Note, the same shall be payable in
sixty (60) monthly installments, with the first payment to begin the first '(1“) full month
following the Effective Date of the Plan. interest shall accrue on the arrearages claim at a fixed
interest rate of three percent (3.0%). In the event Wells Fargo Bank fails to file a proof of claim
for arrearages within sixty (60) days following the Effective Date of the Plan, Wells Fargo Bank
will be deemed to have waived any claim for arrearages, and payment of the same will be
disallowed pursuant to this Plan All payments shall be due and payable on the fifteenth (15th) of
each month with the first (1$[) payment due on the fifteenth (15th) day of the first (1St) full month

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following the Effective Date of the Plan.

1.16c.xxvii Upon information available to the Debtors, the Debtors’ Collateral
securing the 908 Terrell Note has a fair market value of fifty one thousand, four hundred dollars
and no cents ($51,400.00) as a result the allowed claim of Wells Fargo Bank shall be secured in
full. The fair market value of the Wells Fargo Bank collateral is based on a market value of fifty
one thousand, four hundred dollars and no cents ($51,400.00) for the real property located at 908
West Terrell Street, Greensboro, NC. The Debtors do not intend to bifurcate Wells F argo Bank’s
claim based on the 908 Terrell Note, nor do the Debtors intend to “cram down” Wells Fargo’s
claim pursuant to 11 U.S.C. § 1123(b)(5), other than in respect to any arrearage claim that Wells
Fargo Bank may assert, as described below. To the extent Wells Fargo Bank objects to the
valuation, the Debtors request that a valuation hearing, pursuant to §506(a) of the Bankruptcy
Code be conducted at the confirmation hearing The allowed secured claim of Wells Fargo
Bank, as set forth above, or as determined at the §506(a) valuation hearing if required, shall be
paid in full as follows:

The Debtors shall pay Wells Fargo Bank pursuant to the terms and conditions of the 908
Terrell Note. In addition, Wells Fargo Bank shall file a proof of claim within sixty (60) days
following the Effective date of the Plan setting forth the arrearages owed under the 908 Terrell
Note, if any, at which time the Debtors shall have thirty (30) days in which to object to said
arrears claim. lf any arrearages are owed under the 908 Terrell Note, the same shall be payable in
sixty (60) monthly installments, with the first payment to begin the first (lst) full month
following the Effective Date of the Plan. interest shall accrue on the arrearages claim at a fixed
interest rate of three percent (3.0%). in the event Wells F argo Bank fails to file a proof of claim
for arrearages within sixty (60) days following the Effective Date of the Plan, Wells Fargo Bank
will be deemed to have waived any claim for arrearages, and payment of the same will be
disallowed pursuant to this Plan All payments shall be due and payable on the fifteenth (15"']1) of
each month with the first (lst) payment due on the fifteenth (15th) day of the first (1St) full month
following the Effective Date of the Plan.

l.l Gc.xxviii Upon information available to the Debtors, the Debtors’ Collateral
securing the 1801 Willowmore Note has a fair market value of sixty five thousand, seven
hundred dollars and no cents (365,700.00) as a result the allowed claim of Wells Fargo Bank
shall be secured in full. The fair market value of the Wells Fargo Bank collateral is based on a
market value of sixty five thousand, seven hundred dollars and no cents ($65,700.00) for the real
property located at 1801 Willowmore Street, Greensboro, NC. The Debtors do not intend to
bifurcate Wells F argo Bank’s claim based on the 1801 Willowrnore Note, nor do the Debtors
intend to “cram down” Wells Fargo’s claim pursuant to 11 U.S.C. § 1123 (b)(S), other than in
respect to any arrearage claim that Wells Fargo Bank may assert, as described below, To the
extent Wells Fargo Bank objects to the valuation, the Debtors request that a valuation hearing,
pursuant to §506(a) of the Bankruptcy Code be conducted at the confirmation hearing The
allowed secured claim of Wells Fargo Bank, as set forth above, or as determined at the §506(a)
valuation hearing if required, shall be paid in full as follows:

The Debtors shall pay Wells 17 argo Bank pursuant to the terms and conditions of the 1801
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Willowmore Note. ln addition, Wells Fargo Bank shall file a proof of claim within sixty (60)
days following the Effective date of the Plan setting forth the arrearages owed under the 1801
Willowmore Note, if any, at which time the Debtors shall have thirty (3 0) days in which to
object to said arrears claim. If any arrearages are owed under the 1801 Willowmore Note, the
same shall be payable in sixty (60) monthly installments, with the first payment to begin the first
(1“) full month following the Effective Date of the Plan. lnterest shall accrue on the arrearages
claim at a fixed interest rate of three percent (3.0%). ln the event Wells Fargo Bank fails to file a
proof of claim for arrearages within sixty (60) days following the Effective Date of the Plan,
Wells Fargo Bank will be deemed to have waived any claim for arrearages, and payment of the
same will be disallowed pursuant to this Plan All payments shall be due and payable on the
Hfteenth (15“1) of each month with the first (1$‘) payment due on the fifteenth (15th) day of the
first (lst) full month following the Effective Date of the Plan.

1.16c.xxix Upon information available to the Debtors, the Debtors’ Collateral
securing the 4109 Woodale Note has a fair market value of eighty three thousand, six hundred
dollars and no cents ($83,600.00) as a result the allowed claim of Wells Fargo Bank shall be
secured in full. The fair market value of the Wells Fargo Bank collateral is based on a market
value of eighty three thousand, six hundred dollars and no cents ($83,600.00) for the real
property located at 4109 Woodale Lane, Greensboro, NC. To the extent Wells Fargo Bank
objects to the valuation, the Debtors request that a valuation hearing, pursuant to §506(a) of the
Bankruptcy Code be conducted at the confirmation hearing The allowed secured claim ofWells
Fargo Bank, as set forth above, or as determined at the §506(a) valuation hearing if required,
shall be paid in full as follows:

The Debtors shall execute a new Note to Wells Fargo Bank pursuant to the terms and
conditions of this Plan. T he balance due under the 4109 Woodale Note shall be paid monthly,
and amortized over a three hundred and sixty (360) month period interest shall accrue at the
current Till interest rate, which is anticipated at five and one quarter percent (5.25%). Payments
shall be made in equal monthly installmentsl All payments shall be due and payable on the
fifteenth (15111) of each month with the first (1“) payment due on the fifteenth (15“`) day of the
first (1St) full month following the Effective Date of the Plan.

1.1 6c.xxx Upon information available to the Debtors, the Debtors’ Collateral
securing the 4110 Woodale Note has a fair market value of fifty nine thousand, two hundred
dollars and no cents ($59,200.00) as a result the allowed claim ofWells Fargo Bank shall be
secured in full. The fair market value of the Wells Fargo Bank collateral is based on a market
value of fifty nine thousand, two hundred dollars and no cents ($59,200.00) for the real property
located at 4110 Woodale Lane, Greensboro, NC. The Debtors do not intend to bifurcate Wells
Fargo Bank’s claim based on the 4110 Woodale Note, nor do the Debtors intend to “cram down”
Wells Fargo’s claim pursuant to 11 U.S.C. § 1123 (b)($), other than in respect to any arrearage
claim that Wells Fargo Bank may assert, as described below. To the extent Wells Fargo Bank
objects to the valuation, the Debtors request that a valuation hearing, pursuant to §506(a) of the
Bankruptcy Code be conducted at the confirmation hearing The allowed secured claim of Wells
Fargo Bank, as set forth above, or as determined at the §506(a) valuation hearing if required,
shall be paid in full as follows:

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The Debtors shall pay Wells Fargo Bank pursuant to the terms and conditions of the 4110
Woodale Note. in addition, Wells Fargo Bank shall file a proof of claim within sixty (60) days
following the Effective date of the Plan setting forth the arrearages owed under the 4110
Woodale Note, if any, at which time the Debtors shall have thirty (3 0) days in which to object to
said arrears claim. If any arrearages are owed under the 4110 Woodale Note, the same shall be
payable in sixty (60) monthly installments, with the hrst payment to begin the first (1`“) full
month following the Effective Date of the Plan. lnterest shall accrue on the arrearages claim at a
fixed interest rate of three percent (3.0%). ln the event Wells Fargo Bank fails to file a proof of
claim for arrearages within sixty (60) days following the Effective Date of the Plan, Wells Fargo
Bank will be deemed to have waived any claim for arrearages, and payment of the same will be
disallowed pursuant to this Plan All payments shall be due and payable on the fifteenth (15“‘) of
each month with the first (1.St) payment due on the fifteenth (15th) day of the first (1St) full month
following the Effective Date of the Plan.

1.l6d This Class is impaired
l.l7a Class XVII ~Secured Claim of American Home Mortgage Servicingq lnc.

1.171) Description: American Home Mortgage Servicing, lnc. has Hve Secured Claims
as follows:

1.17b.i American Home Mortgage Servicing, lnc. has a Secured Claim pursuant
to a note entered into on or about July 22, 2005 in the original amount of ninety four thousand
dollars and no cents ($94,000.00) which is secured by the Debtors’ Real Property at 5800
Harvest l-Iill Road, Greensboro, NC (hereinafter the -“5800 Harvest Hill Note”). The 5800
l-larvest Hill Note is evidenced by a Promissory Note and Deed of Trust dated July 22, 2005.
Pursuant to the terms of the 5800 Harvest Hill Note the indebtedness was to be paid at a rate of
five hundred two dollars and ninety nine cents ($502.99) per month until August l, 2045 at
which time the balance of the Note would be due and payable. lnterest would accrue at a rate of
four and one half percent (4.5%). lt is anticipated that there will be an allowed Class XVll claim
in the prepetition amount of one hundred fifteen thousand, three hundred eighty dollars and
ninety nine cents ($115,380.99) including eight thousand, six hundred dollars and eighty cents
($8,600.80) in arrears.

1.l7b.ii American Home Mortgage Servicing, Inc. has a Secured Claim pursuant
to a note entered into on or about July 22, 2005 in the original amount of ninety seven thousand
dollars and no cents ($97,000.00) which is secured by the Debtors’ Real Property at 5802
l-larvest Hill Road, Greensboro, NC (hereinafter the “5 802 Harvest Hill Note”). The 5802
Harvest Hill Note is evidenced by a Promissory Note and Deed of Trust dated July 22, 2005.
Pursuant to the terms of the 5802 Harvest llill Note the indebtedness was to be paid at a rate of
six hundred thirteen dollars and seventy two cents ($613.72) per month until August 1, 2045 at
which time the balance of the Note would be due and payable. lnterest would accrue at a rate of
four and one half percent (4.5%). lt is anticipated that there will be an allowed Class XVII claim

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in the prepetition amount of one hundred eighteen thousand, seven hundred nineteen dollars and
fifty cents ($118,719.50).

l.17b.iii American Home Mortgage Servicing, Inc. has a Secured Claim pursuant
to a note entered into on or about November 18, 2004 in the original amount of eighty eight
- thousand dollars and no cents ($88,000.00) which is secured by the Debtors’ Real Property at
2515 Cottage Place, Greensboro, NC (hereinafter the “25 1 5 Cottage Place Note”). The 2515
Cottage Place Note is evidenced by a Promissory Note and Deed ofTrust dated November 18,
2004. Pursuant to the terms of the November 1.8, 2004 Note the indebtedness was to be paid at a
rate of four hundred and seventy seven dollars and eighty seven cents ($477.87) per month until
December 1, 2044 at which time the balance of the Note would be due and payable lnterest
would accrue at a rate of an adjustable interest rate of unknown percent (?%). lt is anticipated
that there will be an allowed Class XVlI claim in the prepetition amount of one hundred
thousand, eight hundred ten dollars and thirty eight cents ($100,810,38) including two thousand,
twenty nine dollars and fifty eight cents ($2',029.58) in arrears.

1.17b.iv American Home Mortgage Servicing, Inc. has a Secured Claim pursuant
to a note entered into on or about July 15, 2005 in the original amount of one hundred twelve
thousand dollars and no cents ($112,000.00) which is secured by the Debtors’ Real Property at
301 E. Bessemer Ave, Greensboro, NC (hereinafter the “301 E. Bessemer Note”). The 301 E.
Bessemer Note is evidenced by a Promissory Note and Deed of Trust dated July 15, 2005.
Pursuant to the terms of the July 15, 2005 Note the indebtedness was to be paid at a rate of seven
hundred forty five dollars and eighty cents ($745.80) per month until August 1, 2045 at which
time the balance of the Note would be due and payable lnterest would accrue at a rate of four
and one half percent (4.5%). lt is anticipated that there will be an allowed Class XVll claim in
the prepetition amount of one hundred forty thousand, nine hundred thirty one dollars and eighty
eight cents ($140,931.88).

1.17b.v A.merican Home Mortgage Servicing, lnc. has a Secured Claim pursuant
to a note entered into on or about July 15, 2005 in the original amount of one hundred twelve
thousand dollars and no cents ($112,000.00) which is secured by the Debtors’ Real Property at
305 E. Bessemer Ave, Greensboro, NC (hereinafter the “305 E. Bessemer Note”), The 305 E.
Bessemer Note is evidenced by a Promissory Note and Deed of Trust dated July 15, 2005.
Pursuant to the terms of the July 15, 2005 Note the indebtedness was to be paid at a rate of seven
hundred fifty nine dollars and thirty cents ($759.3 0) per month until August 1, 2045 at which
time the balance of the Note would be due and payable lnterest would accrue at a rate of four
and one half percent (4.5%). lt is anticipated that there will be an allowed Class XVll claim in
the prepetition amount of one hundred forty one thousand, six hundred seventy Hve dollars and
fifteen cents ($141,675.15).

1.17b.vi American Home l\/lortgage Servicing, lnc. has a Secured Claim pursuant
to a note entered into on or about June 2, 2006 in the original amount of eighty four thousand,
eight hundred dollars and no cents ($84,800.00) which is secured by the Debtors’ Real Property
at 101 Millikin Street, Greensboro, NC (hereinafter the “101 Millikin Note”). The 101 Millikin
Note is evidenced by a Promissory Note and Deed of Trust dated June 2, 2006. Pursuant to the
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terms of the 101 Millikin Note the indebtedness was to be paid at a rate of five hundred thirty
eight dollars and eight cents ($538.08) per month until July 1, 2046 at which time the balance of
the Note would be due and payable lnterest would accrue at a rate of four and one half percent
(4.5%). lt is anticipated that there will be an allowed Class XVll claim in the prepetition amount
of one hundred two thousand, four hundred eleven dollars and eighty eight cents (3102,411.88)
including eleven thousand, five hundred eighty nine dollars and forty six cents ($l 1,589.46) in
arrears.

1.17c Treatment: The Allowed Secured Claim of American Home Mortgage Servicing,
lnc. shall be paid in hill American Home Mortgage Servicing, lnc. shall maintain its current
secured position on the same Collateral it currently holds as security and with the same priority.
The Class XXII Secured Claim shall be treated as follows:

1.17c.i Upon information available to the Debtors, the Debtors’ Collateral
securing the 5 800 Harvest Hill Note has a fair market value of one hundred five thousand, seven
hundred dollars and no cents ($105,700.00) as a result the allowed claim of American Home
l\/Iortgage Servicing, Inc. for the 5800 Harvest Hill Note will be secured by one hundred five
thousand, seven hundred dollars and no cents ($105,700.00). The fair market value of the
Arnerican Home Mortgage Servicing, lnc. collateral is based on a market value of one hundred
five thousand, seven hundred dollars and no cents ($105,700.00) for the real property located at
5800 Harvest Hill Road, Greensbor-o, NC. `To the extent American Home Mortgage Servicing,
lnc. objects to the valuation, the Debtors request that a valuation hearing, pursuant to '§506(a) of
the Bankruptcy Code be conducted at the confirmation hearing The allowed secured claim of
American Home Mortgage Servicing, lnc., as set forth above, or as determined at the §506(a)
valuation hearing if required, shall be paid in full as follows: .

The Debtors shall pay American Home l\/lortgage Servicing, lnc. pursuant to the terms
and conditions of the 5800 Harvest Hill Note. ln addition, American Home Mortgage Servicing,
lnc. shall file a proof of claim within sixty (60) days following the Effective date of the Plan
setting forth the arrearages- owed under the 5800 Harvest Hill Note, if any, at which time the
Debtors shall have thirty (30) days in which to object to said arrears claim. lf any arrearages are
owed under the 5 800 Harvest Hill Note, the same shall be payable in sixty (60) monthly
installments, with the first payment to begin the first (15*) full month following the Effective Date
of the Plan. lnterest shall accrue on the arrearages claim at a fixed interest rate of four and one
half percent (4.5%). ln the event American l-lome Mortgage Servicing, 'Inc. fails to file a proof of
claim for arrearages within sixty (60) days following the Effective Date of the Plan, American
Home Mortgage Servicing, Inc. will be deemed to have waived any claim for arrearages, and
payment of the same will be disallowed pursuant to this Plan. All payments shall be due and
payable on the fifteenth (15“‘) of each month with the first (1St) payment due on the fifteenth
(15th) of the first (1St) full month following the Effective Date of the Plan.

1.17c.ii Upon information available to the Debtors, the Debtors’ Collateral
securing the 5802 Harvest l-lill Note has a fair market value of one hundred five thousand, seven
hundred dollars and no cents ($105,700.00) as a result the allowed claim of Arnerican Home
Mortgage Servicing, lnc. for the 5 802 Harvest flill Note will be secured by one hundred five
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thousand, seven hundred dollars and no cents ($105,700.00). The remaining amount of American
Home Mortgage Servicing, lnc.’s Allowed Claim, or thirteen thousand, nineteen dollars and fifty
cents ($13,019.50) shall be deemed unsecured The fair market value of` the American Home
l\/fortgage Servicing, Inc. collateral is based on a market value of one hundred five thousand,
seven hundred dollars and no cents ($105,700.0()) for the real property located at 5802 Harvest
Hill Road, Greensboro, NC. To the extent American Home Mortgage Servieing, Inc. objects to
the valuation, the Debtors request that a valuation hearing, pursuant to §506(a) of the Bankruptcy
Code be conducted at the confirmation hearing The allowed secured claim of American Home
Mortgage Servicing, Inc., as set forth above, or as determined at the §506(a) valuation hearing if
required, shall be paid in full as follows:

The Debtors shall execute a new Note to American Home Mortgage Servicing, Inc.
pursuant to the terms and conditions of this Plan. The secured claim under the 53()2 Harvest Hill
Note shall be paid monthly, and amortized over a three hundred and sixty (3 60) month period.
lnterest shall accrue at the current Till interest rate, which is anticipated at five and one quarter
percent (5.25%). Payments shall be made in equal monthly installments All payments shall be
due and payable on the fifteenth (15th) of` each month with the first (lst) payment due on the
fifteenth (lSth) of the first (l$t) full month following the Effective Date of the Plan. American
Home Mortgage Servicing, Inc. shall have a Class XIX General Unsecured Creditors claim in the
amount of thirteen thousand, nineteen dollars and fifty cents ($l3,019.50), such amount
representing the unsecured portion of American Home Mortgage Servicing, Inc.’s claim. The
American Home Mortgage Servicing, Inc. claim will be bifurcated and “crarnmed down”
pursuant to ll U.S.C. § 1123(b)(5).

l.l'/'c.iii Upon information available to the Debtors, the Debtors’ Collateral
securingthe 2515 Cottage Place Note has a fair market value of ninety five thousand, seven
hundred dollars and no cents ($95,700.00) as a result the allowed claim of American Home
l\/fortgage Servicing, lnc. for the 2515 Cottage Place Note will be secured by ninety five
thousand, seven hundred dollars and no cents ($95,'700.00). The fair market value of the
American Home Mortgage Servicing, lnc. collateral is based on a market value of ninety five
thousand, seven hundred dollars and no cents ($95,'700.00) for the real property located at 2515
Cottage Place, Greensboro, NC. To the extent American Home Mortgage Servicing, Inc. objects
to the valuation, the Debtors request that a valuation hearing, pursuant to §506(a) of the
Bankruptcy Code be conducted at the confirmation hearing `The allowed secured claim of
Arnerican Home Mortgage Seivicing, lnc., as set forth above, or as determined at the §506(a)
valuation hearing if required, shall be paid in full as follows:

The Debtors shall pay American Home Mortgage Servicing, Inc. pursuant to the terms
and conditions of the 2515 Cottage Place Note. in addition, American Home Mortgage
Servicing, Inc. shall file a proof of claim within sixty (60) days following the Effective date of
the Plan setting forth the arrearages owed under the 2515 Cottage Place Note, if any, at which
time the Debtors shall have thirty (3 0) days in which to object to said arrears claim. ff any
arrearages are owed under the 2515 Cottage Place Note, the same shall be payable in sixty (60)
monthly installments, with the first payment to begin the first (lst) full month following the
Effective Date of the Plan. interest shall accrue on the arrearages claim at a fixed interest rate of

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three percent (3 .0%). ln the event American Home Mortgage Servicing, Inc. fails to file a proof
of claim for arrearages within sixty (60) days following the Effective Date of the Plan, American
Home Mortgage Servicing, Inc. will be deemed to have waived any claim for arrearages, and
payment of the same will be disallowed pursuant to this Plan All payments shall be due and
payable on the fifteenth (15th) of each month with the first (lst) payment due on the fifteenth

(l Sth) day of the first (lst) full month following the Effective Date of the Plan.

l.l 7c.iv Upon information available to the Debtors, the Debtors’ Collateral
securing the 301 E. Bessemer Note has a fair market value of one hundred twenty six thousand,
two hundred dollars and no cents ($126,200.00) as a result the allowed claim of American Home
Mortgage Servicing, Inc. for the 301 E. Bessemer Note will be secured by one hundred twenty
six thousand, two hundred dollars and no cents (3126,200.00). The fair market value of the
American Home Mortgage Servicing, Inc. collateral is based on a market value of one hundred
twenty six thousand two hundred dollars and no cents ($>126,200.00) for the real property located
at 301 E. Bessemer Ave, Greensboro, NC. To the extent American Home Mortgage Servicing,
Inc. objects to the valuation, the Debtors request that a valuation hearing, pursuant to §506(a)' of
the Bankruptcy Code be conducted at the confirmation hearing The allowed secured claim of
American Home Mortgage Servicing, lnc., as set forth above, or as determined at the §506(a)
valuation hearing if required, shall be paid in full as follows:

Pursuant to the terms and conditions of this Plan, the Automatic Stay shall be lifted on
the collateral securing the 301 E. Bessemer Note as of the Effective Date of the Plan. American
Home Mortgage Servicing, Inc. shall have sixty (60) days from the confirmation of the Plan to
file a claim for arrears at which time the Debtors shall have thirty (3 0) days in which to object to
said arrears claim. American Home Mortgage Servicing, Inc. shall liquidate the Collateral
securing the 301 E. Bessemer Note, and all proceeds shall be used to pay down the indebtedness
due under the Note. American Home Mortgage Servicing, Inc. shall have one hundred and
twenty (120) days from the date the Debtors surrender the Collateral securing the 301 E.
Bessemer Note in which to file a Proof of Claim asserting a deficiency, if one exists, or to amend
their previous Claim. Any deficiency owed shall be paid pursuant to Class XIX General
Unsecured below.

l.l 7c.v Upon information available to the Debtors, the Debtors’ Collateral
securing the 305 E. Bessemer Note has a fair market value of one hundred fifty four thousand
seven hundred dollars and no cents (3154,700.00) as a result the allowed claim of American
Home Mortgage Servicing, Inc. for the 305 E. Bessemer Note will be secured in full. The fair
market value of the American Home Mortgage Servicing, Inc. collateral is based on a market
value of one hundred fifty four thousand, seven hundred dollars and no cents ($154,700.00) for
the real property located at 305 E. Bessemer Ave, Greensboro, NC. To the extent American
Home Mortgage Servicing, Inc. objects to the valuation, the Debtors request that a valuation
hearing, pursuant to §506(a) of the Bankruptcy Code be conducted at the confirmation hearing
The allowed secured claim of American l-lome l\/fortgage Servicing, Inc., as set forth above, or as
determined at the §506(a) valuation hearing if required, shall be paid in full as follows:

The Debtors shall execute anew Note to American Home Mortgage Acceptance, lnc.
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pursuant to the terms and conditions of this Plan. The balance due under the 305 E. Bessemer
Note shall be paid monthly, and amortized over a three hundred and sixty (3 60) month period.
lnterest shall accrue at the current Till interest rate, which is anticipated at five and one quarter
percent (5.25%). Payments shall be made in equal monthly installments All payments shall be
due and payable on the fifteenth (15“1) of each month with the first (1St) payment due on the
fifteenth (15th) day of the first (1St) full month following the Effective Date of the Plan.

§ 1.17c.vi Upon information available to the Debtors, the Debtors’ Collateral
securing the 101 Millikin Note has a fair market value of eighty four thousand dollars and no
cents ($84,000.00) as a result the allowed claim of American Home Mortgage Servicing, Inc. for
the 101 Millikin Note will be secured in the amount of eighty four thousand dollars and no cents
($84,000.00). The fair market value of the American Home Mortgage Servicing, lnc. collateral is
based on a market value of eighty four thousand dollars and no cents ($84,000.00) for the real
property located at 101 l\/lillikin Street, Greensboro, NC. To the extent American Home
Mortgage Servicing, Inc. objects to the valuation, the Debtors request that a valuation hearing,
pursuant to §506(a) of the Bankruptcy Code be conducted at the confirmation hearing The
allowed secured claim of American Home Mortgage Servicing, lnc., as set forth above, or as
determined at the §506(a) valuation hearing if required, shall be paid in full as follows:

The Debtors shall pay American Home Mortgage Servicing, Inc. pursuant to the terms
and conditions of the 101 l\/_[illikin Note. In addition, American Home Mortgage Servicing, lnc.
shall file a proof of claim within sixty (60) days following the Effective date of` the Plan setting
forth the arrearages owed under the 101 Millikin Note, if any, at which time the Debtors shall
have thirty (30) days in which to object to said arrears claim. If any arrearages are owed under
the 101 Millikin Note, the same shall be payable in sixty (60) monthly installments, with the first
payment to begin the first (lst) full month following the Effective Date of the Plan. lnterest shall
accrue on the arrearages claim at a fixed interest rate of four and one half percent (4.5%)'. ln the
event American Home Mortgage Servicing, lnc. fails to file a proof of claim for arrearages
within sixty (60) days following the Effective Date of the Plan, American Home Mortgage
Servicing, Inc. will be deemed to have waived any claim for arrearages, and payment of the same
will be disallowed pursuant to this Plan All payments shall be due and payable on the fifteenth
(15“1) of each month with the first (lst) payment due on the fifteenth (15“1) day of the first (lst)
full month following the Effective Date of the Plan.

1.17d This Class is impaired
1.18a Class XVIII _ Secured Claim of RBC Bank

1.18b Description: RBC Bank has a Secured Claim pursuant to a note entered into on
or about August 8, 2001 in the original amount of fifty eight thousand, five hundred dollars and
no cents ($58,500.00). The Loan is evidenced by a Promissory Note and Deed of Trust dated
August 8, 2001. The Debtors entered into a Modification Agreement on August 4, 2006. The
Debtors then entered into a Change In Terms Agreement on July 22, 2011. The Note is secured
by the Debtors’ Real Property at 3800 Friendly Acres Drive, Greensboro, NC. Pursuant to the
terms of the Promissory Note, the Deed of Trust, and the Change fn Terms Agreement, the Note

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was to be paid at a rate of three hundred and one dollars and fifty five cents ($301.55) per month
until July 22, 2016 at which time the remaining balance would be due in full of approximately
thirty five thousand, fifteen dollars and eighty eight cents ($35,015.38). lnterest would accrue at
a rate of six and forty five one hundredths percent (6.45 %). lt is anticipated that there will be an
allowed Class XVlll claim in the prepetition amount of forty thousand, four hundred eighty
dollars and seven cents ($40,480.07) including three hundred one dollars and fifty five cents
($301.55) in arrears.

l.l 8c Treatment: The Allowed Secured Claim of RBC Bank shall be paid in full. RBC
Bank shall maintain its current secured position on the same Collateral it currently holds as
security and with the same priority. The Class XVlIl Secured Claim shall be treated as follows:

Upon information available to the Debtors, the Debtors’ Collateral securing the Note has
a fair market value of seventy eight thousand dollars and no cents ($78,000.00) as a result the
allowed claim of RBC Bank shall be secured in full. The fair market value of the RBC Bank
collateral is based on a market value of seventy eight thousand dollars and no cents ($78,000.00)
for the real property located at 3800 Friendly Acres Drive, Greensboro, NC. To the extent RBC
Bank objects to the valuation, the Debtors request that a valuation hearing, pursuant to §506(21)
of the Bankruptcy Code be conducted at the confirmation hearing T he allowed secured claim of
RBC Bank, as set forth above, or as determined at the §506(a) valuation hearing if required, shall
be paid in full as follows:

The Debtors shall pay RBC Bank pursuant to the terms and conditions of the Promissory
Note, the Deed of Trust, and the Change ln Terms Agreement. ln addition, RBC Bank shall file
a proof of claim within sixty (60) days following the Effective date of the Plan setting forth the
arrearages owed under the Note, if any, at which time the Debtors shall have thirty (3 0) days in
which to object to said arrears claim. lf any arrearages are owed under the Note, the same shall
be payable in sixty (60) monthly installments, with the first payment to begin the first (1“) full
month following the Effective Date of the Plan. lnterest shall accrue on the arrearages claim at a
fixed interest rate of six and forty five one hundredths percent (6.45%). ln the event RBC Bank
fails to file a proof of claim for arrearages within sixty (60) days following the Effective Date of
the Plan, RBC Bank will be deemed to have waived any claim for arrearages, and payment of the
same will be disallowed pursuant to this Plan All payments shall be due and payable on the
fifteenth (15“‘) of each month with the first (lst) payment due on the fifteenth (15“1) day of the
first (1”`*) full month following the Effective Date of the Plan.

1.18d This Class is impairedl

GENERAL UNSECURED CLAll\/IS

 

1.19a Class XlX - General Unsecured Creditors

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1.19b Description: This Class consists of all creditors holding Allowed General
Unsecured Claims, exclusive of the insider claims, or any other creditors determined to be
insiders under ll U.S.C. § 101 (3 1). lt is estimated that there will be approximately one hundred
and fifteen thousand, nine hundred fifty dollars and sixty two cents ($115,950.62) of Allowed
Class XIX General Unsecured However, as of the date of this Plan, several creditors are still
allowed to assert additional claims. As a result, it is anticipated that the Allowed Class XlX
General Unsecured claims will increasel lt is anticipated that the Debtors will be objecting to
Real Time Resolutions, lnc’s Claim in the amount of ninety two thousand, seven hundred
seventy nine dollars and twenty five cents ($92,779.25).

1.19c Treatment: Each holder of an Allowed Unsecured Claim, exclusive of insiders,
shall receive a Promissory Note which provides that each holder shall receive twenty-five
percent (25%) of its claim to be paid over a period of sixty (60) months Payments shall be made
in ten (10) even bi~yearly payments The first bi-yearly payment shall be made on or before the
twentieth (20th) day of the second (2““1) full month following confirmation of this Plan of
Reorganization. The Debtors reserve the right to prepay said claims in the event funds are
available for this purpose prior to payments becoming due. ln addition, in the event additional
funds are retrieved pursuant to section 2.2 below, those recovered funds will be distributed to
each holder of an Allowed Unsecured Claim pro~rata, over and above the anticipated twenty-five
percent (25%) payout.

1.19d Impairment: This Class is impaired
1.20a Class XX - lnsider Claims

1.20b Description: This Class consists of the claims of all insiders Which hold any
claim against the Debtors. This class of insiders will consist of the claims of all other creditors
determined to be insiders under 11 U.S.C. § 101(31). lt is not anticipated that there will be any
allowed Class XX Claims.

1.20c Treatment: The-Class XX claims of insiders shall be subordinated to all other
claims in this proceeding and shall receive no payment on their claims as insiders until all
payments on the claims of Class l through Class XlX are paid in full or received as dividends, all
as required under the terms and conditions of this Plan.

1.20d lmp_airment: This Class is impaired.
ARTICLE II
MEANS FOR EXECUTI()N OF THE PLAN
2.1 General lnformation: The provisions of this Plan call for the restructuring of
certain indebtedness and extensions of time in which to meet those obligations The obligations

being restructured hereunder primarily consist of secured debts and unsecured debt obligations

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2.2 Source of Funds: The Debtors anticipate, based upon projected cash flow and the
restructuring of current indebtedness, as is more fully explained in Exhibits “B” and “C”
attached to the Disclosure Statement to the Plan of Reorganization, that the Reorganized Debtors
will have sufficient funds to pay debt obligations pursuant to the terms specified in this Plan.
The cash flow is anticipated to be sufficient to pay continuing secured debt obligations and
ongoing expenses as a result, in part, of changes in the Debtors’ management structure to more
effectively manage the affairs of the Debtors. ln order to fully consummate the Plan as
proposed, it is anticipated that the Debtors will need to liquidate unencumbered assets The
Debtors have obtained court permission to employ Keith Gunter and the firm of Rodgers Realty
to sell those unencumbered assets necessary to pay off arrearages on secured claims and general
unsecured claims that are not able to be paid from cash flow. The Debtors have been working
with Keith Gunter and the firm of Rodgers Realty in order to prioritize the order in which to
liquidate those assets, and the means by which to accomplish it in a manner that maximizes
funds available to Creditors.

The cash flow projections herein represent the expected income and expenditures for the
Debtors’ business. In addition, the Debtors receive $1,689.50 per month in income from social
security and $308.33 per month in income from 401K retirement distributions which are used
towards personal expenses which are projected to be $4,500.00 per month.

2.3 Asset Retention: The Reorganized Debtors shall retain all personal property and
real property of the Debtors and shall continue in possession of all its property and continue the
normal operation of its business until all requirements of this Plan have been satisfied in full.
This Asset Retention paragraph does not prevent the Reorganized Debtors from selling assets
where such is carried out in the normal operation of its business This is a Plan of
Reorg_anization and not a Plan of Liquidation.

2.4 Document Execution: The Reorganized Debtors will execute those documents
deemed necessary to properly evidence the restructured debt obligation for the classes of
creditors as set out herein. Where such obligations involved secured indebtedness the
Reorganized Debtors will execute such documents as are deemed reasonably necessary to
properly transfer the Collateral being granted to said secured creditors and such other loan
modification documents as may be reasonably necessary to properly document the debt
obligations as provided for in this Plan. -

2.5 Orders in Aid of Consummation: In the event that any Claim amounts in the
classes set forth herein have not yet been determined or allowed, or in the event there are any
disputes which would interfere with substantial consummation, the Court may enter an Order
after notice and hearing and upon the application of any interested party to establish reasonable
escrows or issue such other Orders modifying estimated claim amounts set forth herein or shall
enter such other Orders as in the discretion of the Court would aid in Substantial Consummation.
The Court shall further issue Orders in aid of consummation as it deems necessary for the
purpose of carrying out the terms, conditions and intent of this Plan of Reorganization.
Furthermore, the Court shall determine in its own discretion what further notice, if any, is
required for the Court to issue an Order in Aid of Cons'ummation.

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2.6 Causes of Action: At this time, the Debtors are investigating as to whether all
payments or transfers prior to the filing of the petition were done in the ordinary course of
business, received in the ordinary course of business, and whether sufficient assets exist to
collect on any potential judgment To the extent that the Debtors determine that actions are
appropriate it will institute the appropriate proceedings To the extent any funds are recovered,
the net funds (after payment of expenses incurred in the recovery) will be used by the Debtors as
an additional source of funds to supplement the Plan of Reorganization, in the form of an
additional payment to Class XlX ~ General Unsecured Creditors over and above the current
expected twenty five percent (25%) payout, as described above.

2.7 lnter-Creditor Agreements: To the extent that inter-creditor agreements have
been entered into by and between the creditors in this case, it is not the intent of this Plan to alter
or otherwise modify such agreements and such agreements shall remain in full force and effect.

ARTICLE III
EVENTS OF DEFAULT

3.1 lt shall be an event of default of the Reorganized Debtors if it fails to make the
required payments when due under this Plan or fails to meet any material term or provision of
this Plan and such failure of payment or performance remains unremedied for a period of fifteen
(15) days after written notice of demand has been given to the Debtors by the affected party.

3 .2 Upon the occurrence of an event of default, any creditor may resort to any remedy
available under applicable law for the collection of any obligation owed to it.

ARTICLE IV
PROPER’I`Y DEALT WITH BY TI~IE PLAN

4.1 All property of the Debtors is dealt with by this Plan.

4.2 All unexpired leases existing on the date of the filing of the petition herein, except
for those expressly dealt with by the Plan, are rejected.

4.3 All executory contracts existing on the date of the filing of the petition herein,
except for those expressly dealt with by the Plan, separate motion, or previously approved by the
Court and disclosed by this Plan, are rejected The following executory contracts are hereby
expressly assumed by the Reorganized Debtors

a. All insurance contracts ;
b. All utility contracts;

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c. All leases for real property owned by the Debtors.

4.4 Without admitting the validity of any other executory contracts and unexpired
leases, the Debtors hereby reject all other executory contracts and unexpired leases, including all
employment contracts, to which it is a party other than the assumed executory contracts set forth
hereinabove

4.5 Any Claims arising nom the rejection of executory contracts or unexpired leases,
if not previously required to be filed, must be filed with the Court within thirty (3 0) days from
the date of Confirmation of this Plan unless the time has previously been set by the Court for
filing of the same and said Claims, if allowed, shall be considered a Class XIX General
Unsecured Claim and treated in accordance with the provisions of Article l, Paragraph 1.19(0).

ARTICLE V
PROVISIONS FOR IMPAIRED CREDITORS NOT ACCEPTING THE PLAN

5 .1 With respect to any Class of creditors impaired by and not accepting this Plan of
Reorganization by the requisite majority in number and two-thirds (2/3) in amount, adequate
protection for the realization by them of the value of their Claims shall be provided in the Order
confirming the Plan by such method as will, in the opinion of the Bankruptcy ludge, and
consistent with the circumstances of the case, fairly and equitably provide such protection in
accordance with the applicable provisions of the United States Bankruptcy Code.

ARTICLE VI
PROVISIONS F()R RETENTION OF JURISDICTION AND
PROSECUTION AND DEFENSE OF CLAIl\/IS AND CAUSES OF ACTI()N

6.1 The Court shall retain and may exercise its jurisdiction for determination in this
proceeding of any objections to Claims not disposed of prior to the entry of the Order of
Confirmation of the Plan and any other matters which might affect the Debtors.

6.2 Until the case is closed, the Court shall retain jurisdiction pursuant to Bankruptcy
Rule 303 U(d) to insure that the purpose and intent of this Plan of Reorganization is carried out.
The Court shall retain jurisdiction to hear and determine all Claims against the Debtors and to
enforce all causes of action which may exist on behalf of the Debtors. Nothing contained herein
shall prevent the Reorganized Debtors from taking such action as may be necessary in the
enforcement of any cause of action which may exist on behalf of the Debtors, and nothing
contained herein shall prevent any creditor from enforcing any Claim it may have against third
parties who maybe liable as a result of the Debtors’ obligations to said Creditor.

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ARTICLE VII
DISPUTE]) CLAIMS AND OBJECTIONS TO CLAIMS

7.1 Any party in interest may Hle an objection to any Claim within sixty (60) days
after Confirmation of the Plan of Reorganization. Objections not filed by parties in interest
within such time shall be deemed waived unless the period within which to file objections to
Claims is extended by Order of this Court.

7 .2 Any Claim, or portion hereof, which is to be paid in Cash under the Plan and to
which an objection has been filed, will be protected by requiring the Debtors to segregate and set
aside in a Cash escrow account an amount sufficient to make payment of said Claim in the same
fashion as though the objection is denied.

ARTICLE lX
PROVISIONS FOR DISCHARGE AND RELEASE

8.1 The Reorganized Debtors, Wayne L. and Joyce A. Stutts, shall be discharged and
released from and free of all liabilities, Claims and obligations of any nature, known or
unknown, except as may be expressly provided for by this Plan of Reorganization or
Confirmation Order and assumed by the Reorganized Debtors. All proceedings and Court
actions seeking to establish or enforce liabilities and Claims of any nature against the
Reorganized Debtors or properties received or retained by it with respect to debts and obligations
of the Debtors shall be permanently stayed and enjoined except as otherwise specifically
provided for in this Plan or Reorganization or Confirmation Order. Entry of the Order of
Confirmation of this Plan of Reorganization in this proceeding shall itself be a judicial
determination of the discharge of all liabilities of every kind and nature of the Debtor occurring
prior to Confirmation of this Plan, except as provided for in this Plan of Reorganization, Order of
Confirmation, or by other orders of this Court.

(Signatures to appear on following page)

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RESPECTFULLY SUBMITTED, this the 3lst day of August, 2012.

 

DEBTORS-lN-POSSESSION

 

 

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